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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               BEAUFORT DIVISION


TIMOTHY GLIBOWSKI, CHRISTINE                    Civ. No. 9:18-273-TLW
DELMATER, STEPHANIE SPEICHER,
JEFF SHELTON, DAVID DRAKE, CAROL
S. ADAMS, AND TRAVIS HAMITER, on
behalf of themselves and all others similarly   THIRD AMENDED CLASS
situated,                                       ACTION COMPLAINT

                              Plaintiffs,       CLASS CERTIFICATION REQUESTED

               -against-                        JURY TRIAL DEMANDED



SCANA CORPORATION, SOUTH
CAROLINA ELECTRIC & GAS
COMPANY, SCANA SERVICES, INC.,
SOUTH CAROLINA PUBLIC SERVICE
AUTHORITY, KEVIN MARSH, JIMMY
ADDISON, STEPHEN BYRNE, MARTIN
PHALEN, MARK CANNON, RUSSELL
HARRIS, RONALD T. LINDSAY, JAMES
MICALI, MARION CHERRY, MICHAEL
CROSBY, AND LONNIE CARTER,


                            Defendants.


       Plaintiffs, by and through their undersigned attorneys, hereby file this Third Amended

Complaint against defendants, and allege the following:

                                      INTRODUCTION

       1.     This action concerns the demise of the project to construct 2 nuclear reactor units

at the V.C. Summer Station in Jenkinsville, South Carolina, (“the Nuclear Reactor Project”) and

the deliberate concealment of this demise from the public by the project owners, which enabled

the project owners to repeatedly pass along costs associated with this failing project to their
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customers, and to reap significant financial windfalls associated with the project.

       2.      This case is brought by Plaintiffs, who are citizens and residents of the state of

South Carolina, on behalf of themselves and all other utility customers who are within the

service areas of defendant South Carolina Public Service Authority (“Santee Cooper”) and

defendant SCANA’s subsidiary South Carolina Electric & Gas Company (“SCE&G”), against

Santee Cooper, SCANA, SCANA Services, SCE&G, the Individual SCANA Defendants Kevin

Marsh, Jimmy Addison, Stephen Byrne, Martin Phalen, Mark Cannon, Russell Harris, Ronald

T. Lindsay, and James Micali, and the Individual Santee Cooper Defendants Marion Cherry,

Michael Crosby, and Lonnie Carter (collectively referred to as “the RICO Defendants”), for

their participation in an unlawful Racketeering Enterprise in violation of the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), Title 18, United States Code, Section

1964 et seq.

       3.      As set forth herein, the RICO Defendants, in furtherance of their Racketeering

Enterprise, conducted a series and pattern of racketeering acts, including the mailing of

fraudulently inflated charges to Plaintiffs and other members of the putative Classes of and

other use of the mails and interstate wires to further a fraudulent scheme, in violation of the civil

RICO statute, 18 U.S.C. § 1964.

       4.      Plaintiffs also bring a claim against Defendant Santee Cooper for unlawful

takings of Plaintiffs’ property without just compensation, and unlawful transfer of Plaintiffs’

property to private individuals.

                               JURISDICTION & VENUE

       5.      This Court has subject-matter jurisdiction over the claims in this lawsuit,

pursuant to 28 U.S.C.A. § 1331.



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       6.      This Court has personal jurisdiction over defendants SCANA, SCE&G, SCANA

Services, and Santee Cooper because they are organized under the laws of the state of South

Carolina, have corporate headquarters within the State, and the events giving rise to the matter

in controversy occurred within the State.

       7.      This Court has personal jurisdiction over the individual defendants named and

described below, as they are citizens and residents of the state of South Carolina.

       8.      Venue is proper under 28 U.S.C. § 1391(b) and 18 U.S.C. § 1965(a), as all

relevant events occurred after the enactment of the Base Load Review Act of 2007, S.C. Code

Ann. § 58-33-210, et. seq. (“the BLRA”) and, upon further information and belief, defendants’

actions giving rise to the claims occurred in this District.

       9.      Venue is proper in this division pursuant to Local Civil Rule 3.01.

                                             PARTIES

       10.     Plaintiff Timothy Glibowski is a citizen and resident of the state of South

Carolina, and, at all times relevant to this complaint, was a customer of Defendant SCE&G.

       11.     Plaintiff Christine Delmater is a citizen and resident of the state of South

Carolina, and, at all times relevant to this complaint, was a customer of Defendant SCE&G.

       12.     Plaintiff Stephanie Speicher is a citizen and resident of the state of South

Carolina, and, at all times relevant to this complaint, was a customer of Defendant SCE&G.

       13.     Plaintiff Jeff Shelton is a citizen and resident of the state of South Carolina, and

at all times relevant to this complaint, was a customer of Defendant SCE&G.

       14.     Plaintiff David Drake is a citizen and resident of the state of South Carolina, and

at all times relevant to this complaint, was a customer of Defendant SCE&G.

       15.     Plaintiff Carol S. Adams is a citizen and resident of the state of South Carolina,



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and at all times relevant to this complaint, was a customer of Defendant SCE&G.

       16.     Plaintiff Travis Hamiter is a citizen and resident of the state of South Carolina,

and at all times relevant to this complaint, was a customer of Defendant Santee Cooper.

       17.     At all times relevant to this Complaint, Defendant SCANA has been a holding

company engaged through its principal subsidiaries, including Defendants SCE&G and SCANA

Services, in electric and natural gas utility operations and other energy-related businesses in

South Carolina, North Carolina and Georgia. Formed on December 31, 1984, SCANA is

incorporated in South Carolina and maintains its principal executive offices at 100 SCANA

Parkway, Cayce, South Carolina 29033. SCANA, SCE&G, and SCANA Services are an

amalgamation of interests, entities, and activities so as to blur the legal distinction between

SCANA, and its activities and the activities of its subsidiaries SCE&G and SCANA Services.

In January 2019, SCANA was acquired by Dominion Energy, Inc., and is now a part of

Dominion Corporation’s Southeast Energy Group.

       18.     At all times relevant to this Complaint, SCE&G was regulated by the South

Carolina Public Service Commission (“PSC”), and knew that its behavior would be subject to

monitoring by the PSC and had a monetary interest in the information presented to the PSC.

       19.     At all times relevant to this complaint, Defendant SCANA Services, Inc., has

been a South Carolina Corporation, and a primary subsidiary of Defendant SCANA, and

employed the professional staff at the V.C. Summer project, including one or more Individual

SCANA Defendants.

       20.     At all times relevant to this complaint, Defendant SCE&G, SCANA’s principal

subsidiary, has been engaged in the generation, transmission, distribution and sale of electricity




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and transportation of natural gas to customers. 1

       21.     SCE&G is a publicly authorized monopoly with the exclusive right to

provide electricity within its service areas. At all times relevant to this complaint, Class

members whose property was located within the SCE&G service territory had no choice but to

purchase electricity from SCE&G.

       22.     At all times relevant to this complaint, the South Carolina Public Service

Authority (“Santee Cooper”) has been a public corporation, “an independent, quasi-municipal

corporation designed and created with the idea that it will be self-satisfying in terms of financial

operation and internal management”. 2 Santee Cooper owns the electricity transmission lines in

its service area and has the exclusive right to provide electricity within its service areas as well

as pursuant to a contract with Central Electric Power Cooperative, Inc., (“CEPCI”).

       23.     Santee Cooper distributes any excess revenue from its operations to the general

funds of the South Carolina treasury. S.C. Code § 58–31–110. Otherwise, Santee Cooper is

financially independent of the state. Its budget and the rates it charges customers are not subject

to the approval of any state agency. Additionally, a twelve-person board of directors governs

Santee Cooper (“the Santee Cooper Board”). The Board members are appointed for fixed seven-

year terms and are removable only for cause. S.C. Code § 58–31–20. The state of South

Carolina does not possess a sufficient degree of control over Santee Cooper for it to be

considered an arm or the alter ego of the state of South Carolina.

       24.     At all times relevant to the complaint, Defendant Kevin Marsh (“Marsh”) was


1
   Unless noted otherwise, all references to “SCANA” herein denote SCANA, SCE&G, and
SCANA Services, Inc., and all legal and factual allegations made against SCANA are
specifically lodged against SCANA, SCE&G, and SCANA Services.
2
  See April 1, 1999 Letter from Attorney General Condon to Senator Larry Grooms at 4;
available at http://2hsvz0l74ah31vgcm16peuy12tz.wpengine.netdna-cdn.com/wp-
content/uploads/2013/11/99apr1grooms.pdf.
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the Chief Executive Officer and Chairman of the Board of SCANA and enriched himself at the

expense of SCE&G and Santee Cooper customers while committing numerous breaches of his

fiduciary duty. Among other things, in 2016 Defendant Marsh received a bonus of $3.3 million,

in part for “oversight and support” of the Nuclear Reactor Project.

       25.     At all times relevant to the complaint, Defendant Jimmy Addison (“Addison”)

was the Chief Financial Officer for SCANA and enriched himself at the expense of SCE&G and

Santee Cooper customers, committing numerous breaches of his fiduciary duty. For example, in

2016 Addison received a bonus of $620,000, in part for his efforts to secure additional financing

relating to the failed Nuclear Reactor Project at the V.C. Summer Nuclear Generating Station.

       26.     At all times relevant to the complaint, Defendant Stephen A. Byrne (“Byrne”)

was the Executive Vice President of SCANA and held the position of President for Generation

and Transmission and Chief Operating Officer of SCE&G. Defendant Byrne enriched himself at

the expense of SCE&G and Santee Cooper customers and, in the process, committed numerous

breaches of his fiduciary duty. For example, in 2016 Byrne received a bonus of $620,000, in

part for his oversight role with regard to the Nuclear Reactor Project.

       27.     At all times relevant to the complaint, Defendant Martin Phalen (“Phalen”) was a

SCANA senior vice president of administration, retiring on or about December 31, 2016.

       28.     At all times relevant to the complaint, Defendant Mark Cannon (“Cannon”) was

a SCANA vice president and treasurer, retiring on or about February 29, 2016.

       29.     During the relevant time frame beginning in 2013, Defendant Russell Harris

(“Harris”) served as both President of SCE&G Gas Operations and SCANA’s senior vice

president.

       30.     During the relevant time frame beginning on or around February 24, 2012,



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Defendant Ronald T. Lindsay (“Lindsay”) has served as the Senior Vice President, General

Counsel and Assistant Secretary of SCANA.

       31.    During the relevant time frame, Defendant James Micali (“Micali”) served as a

member of SCANA’s board of directors.

       32.    Defendants Marsh, Addison, Byrne, Phalen, Cannon, Harris, Lindsay, and Micali

are hereinafter collectively referred to as the “Individual SCANA Defendants.”

       33.    At all times relevant to this complaint, Defendant Lonnie Carter 3 (“Carter”) was

the chief executive officer of Santee Cooper. 4 Carter is a citizen and resident of the State of

South Carolina. At all times relevant herein, Carter committed Santee Cooper to involvement in

the Nuclear Reactor Project for his personal gain and enrichment at the expense of SCE&G and

Santee Cooper customers.

       34.    At all times relevant to this complaint, Defendant Marion Cherry (“Cherry”) has

been a citizen and resident of the State of South Carolina. Cherry served as the site

representative for Santee Cooper at the Project, and was a Santee Cooper employee.

       35.    At all times relevant to this complaint, Defendant Michael Crosby (“Crosby”)

has been a citizen and resident of the State of South Carolina. During the relevant time period,



3
  At the behest of SCANA and the Individual SCANA Defendants, without approval from the
Santee Cooper Board of Directors, Carter authorized Santee Cooper to use approximately $9
million of its customers’ money for Project-related bonuses for SCANA executives. Santee
Cooper continued to pay bonuses for SCANA executives until August 31, 2017. See
https://www.thestate.com/news/politics-government/article210782644.html.
4
  Defendant Carter is not entitled to claim qualified immunity as a quasi-government official.
(Dkt. Doc. No. 54, Plaintiffs’ Response in Opposition to Santee Cooper and Lonnie Carter’s
Motion to Dismiss.) Carter is not a governmental or quasi-governmental official. Even if he
were, his conduct violated clearly established statutory and constitutional rights of which a
reasonable person would or should have known. Moreover, Carter acted outside the scope of his
authority and his actions, described herein, were intended to benefit and enrich himself at the
expense of Santee Cooper and its customers. Defendants Cherry and Crosby (identified in
paragraphs 33 and 34) are likewise not entitled to qualified immunity.
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Crosby served as Senior Vice President for Nuclear Energy at Santee Cooper.

        36.     Santee Cooper, Carter, Cherry, and Crosby are hereinafter collectively referred to

as the “Santee Cooper Defendants.”

        37.     Defendants Carter, Cherry, and Crosby are hereinafter collectively referred to as

the “Individual Santee Cooper Defendants.”

        38.     At all times relevant to the Complaint, the RICO Defendants, collectively as

owners of the Nuclear Reactor Project, as well as individually, had a duty to act in good faith,

with loyalty to, and for the benefit of SCANA and Santee Cooper and the respective energy

utility customers of each utility.

        39.     The fraudulent and deceitful conduct of the RICO Defendants harmfully

impacted, and continues to impact, the Classes and the public at large by causing the Classes

and public to pay for fraudulent charges associated with the construction of the Nuclear Reactor

Project.

                               CLASS ACTION ALLEGATIONS

        40.     Plaintiffs bring this action as a class action pursuant to Rules 23(a), 23(b)(1),

23(b)(3), and 23(c)(4) of the Federal Rules of Civil Procedure on behalf of a class consisting of

         a) all South Carolina customers of SCANA who have been charged, and paid those
        charges, for costs associated with the construction of two new nuclear power reactors at
        V.C. Summer Nuclear Power Station in South Carolina, which the RICO Defendants
        have now abandoned; the class period runs from 2007 to present (the “Class Period”)
        and includes all persons who sustained damage by paying the inflated charges as alleged
        herein (the “SCANA Customer Class”), 5 and


5
 In Lightsey v. SCE&G, 2017CP-35-335, a class action settlement was given final approval on
June 11, 2019 by the Honorable John C. Hayes, III, Circuit Court Judge, and pursuant to the
settlement the claims of the SCANA Customer Class against the SCANA defendants (SCANA,
SCE&G, SCANA Services, Marsh, Addison, Byrne, Phalen, Cannon, Harris, Lindsay, and
Micali)(“the released defendants”) have been released. Nothing in this complaint should be
deemed to constitute a claim by the SCE&G customer class against the released defendants.
However, the SCE&G customer class continues to assert claims against Santee Cooper and the
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       b) all South Carolina customers of Santee Cooper and any other local electric
       cooperatives who have been charged, and paid those charges, during the Class Period for
       costs associated with the construction of two new nuclear power reactors at V.C.
       Summer Nuclear Power Station in South Carolina, which the RICO Defendants have
       now abandoned, and includes all persons who sustained damage by paying the inflated
       charges as alleged herein as a result of such advance charges purchased from Santee
       Cooper (the “Santee Cooper Customer Class”).

Reference to “the Class” herein refer to these two classes collectively unless otherwise

indicated.

       41.     Excluded from the Class are the Justices of the United States Supreme Court, the

Justices of the South Carolina Supreme Court, the Judges of the Fourth Circuit Court of

Appeals, the Judges of the United States District Court of South Carolina, the Defendants,

members of Defendants’ immediate families, and the legal representatives, affiliates, heirs,

successors or assigns of any of Defendants.

       42.     Class certification pursuant to Rule 23(b)(1) is appropriate because the

prosecution of separate actions by individual members of the class would create the risk of

inconsistent or varying adjudications with respect to individual members of the class and could

substantially impede the ability of other members to protect their interests.

       43.     Class certification pursuant to Rule 23(b)(3) is appropriate because class action

treatment is a superior method for the fair and efficient adjudication of the controversy.

Common issues predominate over individual issues, and there is no interest by members of the

class in individually controlling the prosecution of separate actions.

       44.     Should it be deemed appropriate, this action may be maintained as a class action



Individual Santee Cooper Defendants. In addition, nothing herein should be construed as a
release of the claims of the Santee Cooper customer class against SCANA, SCE&G, SCANA
Services, Marsh, Addison, Byrne, Phalen, Cannon, Harris, Lindsay, Micali, and against Santee
Cooper (and the Individual Santee Cooper Defendants).
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with respect to particular issues pursuant to Rule 23(c)(4), including but not limited to the

questions of law and fact enumerated in paragraph 50, infra.

       45.       Plaintiffs’ claims are typical of the claims of the members of the Class as all

members of the Class paid fraudulent construction financing costs associated with the wrongful

conduct of SCANA, Santee Cooper, the Individual Santee Cooper Defendants, and the

Individual SCANA Defendants in violation of the laws described herein.

       46.       The size of the Class renders joinder impracticable, and failure to certify the

Class will likely prevent individuals who have been damaged by Defendants’ fraudulent scheme

from pursuing their claims. Without a class action, individual class members would face

burdensome litigation expenses, deterring them from bringing suits that would adequately

protect their rights. Whatever difficulties may exist in the management of the class action are

greatly outweighed by the class action procedure that would provide claimants with a method

for the redress of claims that they may not otherwise be capable of pursuing. The class action

device is superior to individual litigation under the circumstances of this case because it

provides the benefits of unitary adjudication, judicial economy and economies of scale. The

class action device in this civil RICO action provides access to the courts and a measure of

justice and accountability for the individual and business claimants whose incomes, business

and properties have been damaged by Defendants’ fraudulent and unlawful conduct.

       47.       The Plaintiffs and all Class members seek treble damages for their injuries, as

provided under 18 U.S.C. § 1964(c), including but not limited to economic damages for injury

to their income, business, and property (including diminution of property values), cost of the

suit, attorney’s fees, injunctive relief and any other relief to which they may be entitled in law

and/or equity.



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       48.      The size of the class comprises hundreds of thousands of utility customers, both

individuals and businesses, served by Defendants across every county in the State of South

Carolina.

       49.      Plaintiffs will fairly and adequately protect the interests of the members of the

Class and have retained competent counsel, experienced in class action litigation and litigation

involving RICO, and the specific legal and factual issues addressed herein. Plaintiffs are

members of the Class and do not have interests antagonistic to or in conflict with the other

members of the Class.

       50.      There are numerous questions of law and fact common to the Class that

predominate over any questions affecting individual members of the Class, including:

             a. whether the RICO Defendants have violated the laws of the United States;

             b. whether the RICO Defendants knew or should have known that design issues
                would impact the cost, and completion of, construction of the Nuclear Reactor
                Project;

             c. whether the RICO Defendants acted in a commercially reasonable, prudent and
                competent manner in the selection, design, supervision and administration of the
                contract(s) to construct the Project;

             d. whether the RICO Defendants engaged in acts of mail fraud, wire fraud or other
                RICO predicate acts in direct violation of the federal RICO statute;

             e. whether the RICO Defendants have engaged in a pattern of unlawful conduct;

             f. whether the RICO Defendants have conducted or participated, directly or
                indirectly, in a pattern of unlawful conduct in the operation, management or
                conduct of an enterprise in violation of 18 U.S.C. § 1962(c);

             g. whether the RICO Defendants have violated 18 U.S.C. § 1962(d) by conspiring
                to or attempting to conduct or participate, directly or indirectly, in a pattern of
                unlawful conduct in the operation, management or conduct of an enterprise in
                violation of 18 U.S.C. § 1962(c);

             h. whether Plaintiffs and the proposed members of the Class were injured by reason
                of the RICO predicate acts of the named Defendants, and, if so, the appropriate

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                class-wide measure of damages;

             i. whether publicly disseminated documents and statements issued during the Class
                Period omitted and/or misrepresented material facts concerning the RICO
                Defendants’ business, finances, future business prospects and future prospects
                for success in the construction of the Nuclear Reactor Project; and

             j. whether the RICO Defendants participated in and pursued the common course of
                conduct complained of.

                              JOINT AND SEVERAL LIABILITY

       51.      Throughout their involvement with the Project, the RICO Defendants repeatedly

made material misstatements and omissions of fact and used the mails and interstate wires in

furtherance of the RICO Enterprise.

       52.      The RICO Defendants are jointly and severally liable for all material

misrepresentations, omissions, fraudulent conduct, or other tortious acts or omissions done in

furtherance of the RICO Enterprise.

       53.      Each RICO Defendant served as an agent for the others while engaged in the

RICO Enterprise. Knowledge possessed by one RICO Defendant about a matter within the

scope of the RICO Enterprise is attributable to every other RICO Defendant. Likewise,

representations as to one Defendant are attributable to all Defendants, and, collectively, enabled

the RICO Defendants to perpetuate the scheme against Plaintiffs and the Class.

       54.      Upon information and belief, the RICO Defendants had a pecuniary interest in

making these false and materially misleading allegations, as the RICO Defendants intended to

benefit from their fraudulent scheme, through bonuses, increased salaries and other increased

compensation, and through the artificial inflation of stock holdings, and the issuance of

attractive bonds, all of which would not have existed but for the Nuclear Reactor Project.




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                                     FACTUAL ALLEGATIONS

        A.     RICO Defendants Push for Legislation to Enable a Runaway Project.

        55.    In February 2007, the South Carolina Legislature passed the BLRA. Ostensibly,

the BLRA was designed to incentivize nuclear construction by investor-owned utilities in South

Carolina. Though the cost of nuclear construction had been historically expensive, under the

BLRA, a regulatory structure was put in place, allowing utilities to pass financing charges for

nuclear construction onto customers in advance of a nuclear plant becoming commercially

operable.

        56.    According to observers who followed passage of the BLRA at the time—

including the president of the S.C. Small Business Chamber of Commerce—SCANA was

among the bill’s major backers and lobbied heavily for the bill. 6

        57.    Ultimately, SCANA was the only investor-owned utility to take advantage of the

BLRA.

        B.     SCANA and Santee Cooper Plan to Expand the V.C. Summer Nuclear Site.

        58.    In 2006, SCANA entered into an agreement with Santee Cooper that enabled

Santee Cooper to act as a 45% owner of a project to construct two nuclear reactors. Pursuant to

the initial agreement between the owners, Santee Cooper would share in a proportionate

percentage of the production tax credits SCANA would realize upon the completion of the


6
  Although lobbying records are not readily available for 2007, SCANA is known to have spent
a total of $1.5 million lobbying South Carolina legislators since 2009. SCANA also spent
$63,000 in campaign contributions during the 2006 South Carolina state election cycle, making
it the eleventh largest overall contributor that year. In 2008, that number more than doubled to
$168,605, making SCANA the sixth largest donor in the state. SCANA has been in the top-ten
South Carolina state election spenders in every election cycle since—most recently spending
$224,644 in the 2016 cycle. (data compiled from https://www.opensecrets.org).

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project. These credits would purportedly total nearly $2 billion. In SCANA’s Q1 2007 earnings

conference call on April 27, 2007, a SCANA executive stated that “along with our partner,

Santee Cooper, we currently expect to file a joint application with the Nuclear Regulatory

Commission later this year, for a combined construction and operating license which will cover

two units ...” SCANA further stated that they expected to recover capital costs for the project

from customers under the BLRA.

       59.     Indeed, a major component of SCANA’s plan regarding the Project was the

ability to charge customers for construction rather than incurring the costs themselves. This

model was adopted by Santee Cooper.

       60.     In March 2008, SCANA and Santee Cooper jointly filed an application with the

federal Nuclear Regulatory Commission (“NRC”) for a license to build two nuclear reactors.

       61.     In May of 2008, SCE&G, on behalf of itself and Santee Cooper, signed an

Engineering, Procurement and Construction contract (the “EPC Contract”) with Westinghouse

Electric Company (“Westinghouse”) and Stone & Webster, Inc. to act as prime contractors to

build two Westinghouse AP1000 7 nuclear reactors at the V.C. Summer Site. 8 (Westinghouse,

Stone & Webster and all other construction contractors for the Nuclear Reactor Project are

hereinafter collectively referred to as “the Consortium.”) SCANA and Santee Cooper were 55%

and 45% owners of the project, respectively, and are referred to collectively as “Owners.” 9

       62.     The ownership interest was set forth in both the Nuclear Regulatory Commission



7
  “AP” means “advanced passive,” which refers to the alleged capability of the reactor to shut
down without direction from a human operator in response to a safety event. “1000” refers to
the 1000-megawat capability of the reactor.
8
  The agreement may be found on the website of the South Carolina Public Service
Commission, at https://dms.psc.sc.gov/Attachments/Matter/f12aebd6-b1ed-4c2d-b064-
96899c5400b6. It is incorporated into this Third Amended Complaint by reference.
9
  February 27, 2009 Order Approving Combined Application, Order No. 2009-104, page 2.
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application and SCANA’s initial PSC application for a Certificate of Need. Furthermore, the

ownership interest was expressly contemplated in a 2006 amendment to Santee Cooper’s

enabling Act, S.C. Code Ann. § 58-31-200.

        63.    From 2006 onward, the Owners entered into a series of agreements, (“Bridge

Agreements”), which would later become the Design and Construction Agreement that

expressly set forth the Owners’ various obligations to the project.         These roles included

oversight of the design, engineering and construction associated with the project, and assuring

that the project remained on budget and on schedule.

        64.    In addition, throughout the pendency of the project, Defendants Santee Cooper

and SCE&G would execute a series of limited agency agreements, whereby Defendant SCE&G

was authorized to act on behalf of the Santee Defendants.

        65.    SCE&G signed the EPC contract with the Consortium “for itself and as agent for

the South Carolina Public Service Authority, a body corporate and politic created by the laws of

South Carolina.” The EPC Contract was kept confidential and was not available to the public

until after the Project collapsed in 2017.

C.      The RICO Defendants Secure PSC Approval for the Project.

        66.    On or about May 30, 2008, SCANA, in furtherance of the Nuclear Reactor

Project, filed a Combined Application with the PSC, pursuant to the BLRA, seeking a

Certificate of Environmental Compatibility and Public Convenience and Necessity and for a

Base Load Review Order to construct and operate a two-unit, 2,234 net megawatt nuclear

facility, i.e. the Nuclear Reactor Project (the “Base Load Application”).

        67.    In connection with proceedings before the PSC, and at all times relevant to this

Complaint, SCANA acted for itself and as the agent of Santee Cooper. The involvement of



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Santee Cooper in the Nuclear Reactor Project was indispensable to SCANA’s Base Load

Application and the joint ownership was touted as a significant benefit to the Nuclear Reactor

Project.

        68.      In its Base Load Application, the RICO Defendants made numerous material

statements to the PSC, and to the Class, which Defendants knew or should have known were

false and misleading, or which Defendants made with a reckless disregard as to their veracity.

These misleading statements included the following:

              a. the Project was necessary to meet the growing needs of its customers for electric
                 power and to support the continued economic development of the state of South
                 Carolina; 10

              b. SCANA and Santee Cooper chose nuclear generating capacity to meet base load
                 requirements having carefully evaluated the life-cycle costs, reliability, the fuel,
                 and environmental risks of other options; 11

              c. SCE&G “will oversee quality assurance and quality control closely” in
                 connection with the Project and “is also putting in place a well-staffed
                 construction management oversight group [that] will support comprehensive
                 oversight of the project construction and administration of the EPC contract;” 12

        69.      During his testimony in the 2008 PSC Proceeding, Defendant Marsh addressed

how the Owners would collectively manage significant risks related to cost overruns and delays

on the project, stating:

        The business processes and structures for this oversight group are being formalized at
        this time. In all, we estimate more than 50 people will be assigned to this task. At the
        center of this structure will be a dedicated group of SCE&G personnel that will monitor
        each aspect of the construction process on a day-to-day basis and will report progress,
        issues and variances to an executive steering committee that includes me as SCE&G’s
        president, and a senior executive from Santee Cooper and to the SCANA board of
        directors. 13

10
   Docket No. 2008-196-E-Order No. 2009-104 dated February 27, 2009, p.2.
11
   Id. at ¶12.
12
   Testimony of Kevin Marsh to Public Service Commission, December 1, 2008.
13
   Direct Testimony of Kevin B. Marsh on Behalf of South Carolina Electric & Gas Company,
                                                  16
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       70.      The foregoing statements constituted fraudulent misrepresentations and

misleading half-truths and involved material omissions of fact. At the time these

misrepresentations and half-truths were made in connection with SCANA’s Base Load

Application, the RICO Defendants knew or should have known:

             a. SCANA and Santee Cooper did not need the generation capacity that would
                purportedly be supplied by the AP1000 reactors to meet demand;

             b. Westinghouse had never before handled the engineering, purchasing and
                construction for a large-scale building project; 14

             c. The AP1000 design had not been finalized; 15

             d. Westinghouse did not have a complete set of engineering drawings to construct
                the reactor. In fact, a final design and complete set of engineering drawings
                never existed;

             e. Westinghouse was utilizing unlicensed engineers to craft blueprints and conduct
                complex engineering calculations when designing the Nuclear Reactor Project; 16

             f. Construction of the Nuclear Reactor Project included a substantial risk of failure
                due to the untested and unapproved designs of the Westinghouse AP1000 reactor
                (which were undertaken despite the existence of a proven design in the reactor at
                Unit 1 on the site, which has operated reliably, without major incident for nearly
                35 years);

             g. The design of Units 2 and 3 was not at all similar to that of Unit 1;

             h. SCANA and Santee Cooper were making cost and time estimates on the basis of
                a generic construction schedule provided by Westinghouse that was not site-
                specific, and thus could not serve as a legitimate basis for cost and time
                estimates; and

             i. Although the RICO Defendants publicly represented an “oversight group” would


Docket No. 2008-196-E, https://www.nrc.gov/docs/ML0910/ML091060781.pdf.
14
   https://www.postandcourier.com/news/contractor-wasted-millions-on-unnecessary-supplies-
for-s-c-s/article_43eeba82-ba6f-11e7-8065-2398b073b4e0.html
15
   10 CFR Part 52, AP1000 Design Certification Amendment available at
https://www.nrc.gov/docs/ML1134/ML113480014.pdf
16
   https://www.postandcourier.com/business/stamped-for-failure-westinghouse-and-scana-used-
unlicensed-workers-to/article_3ea2046a-9d39-11e7-a186-cb396c86b8b9.html
                                                 17
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               review every aspect of the project, the EPC Contract materially limited the
               ability of SCANA and Santee Cooper to perform quality assurance and
               oversight.

       71.     Each of the aforesaid fraudulent misrepresentations were advanced by the RICO

Defendants acting as a continuing unit.

       72.     All RICO Defendants agreed that the objective of the scheme was to personally

enrich themselves at the expense of customers of SCANA, SCE&G, and Santee Cooper, and the

actions alleged herein were undertaken to further that objective.

       73.     Each RICO Defendant had a duty to refrain from making any misrepresentations

to the PSC, the Santee Cooper Board, and the public, and to correct any statements made that

were untrue or only partially true. Each and every RICO Defendant breached that duty.

       74.     In furtherance of their fraudulent scheme to hide the true projected cost and

schedule to complete the Project, the RICO Defendants disputed in bad faith each and every

concern raised in opposition papers filed by objectors to the Nuclear Reactor Project.

       75.     At the conclusion of the Baseload application process, and based upon

Defendants’ representations throughout that process, PSC issued an order granting the Owners’

application for a certificate of public need and an initial base load order.

       76.     Upon issuance of the PSC order, the RICO Defendants immediately commenced

to shift the financing and risk of constructing the Nuclear Reactor Project from SCANA and

Santee Cooper onto the Plaintiff Class. As such, the RICO Defendants collectively shared a

pecuniary interest in the false and materially misleading allegations made in the application

process overseen by the PSC.

       77.     Upon information and belief, each of the Defendants had a pecuniary interest in

making these false and materially misleading allegations, as the RICO Defendants expected to



                                                 18
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benefit from their fraudulent scheme, through bonuses, increased salaries and other

compensation, and through the artificial inflation of stock holdings, and the issuance of

attractive bonds.

          78.    The Individual Santee Cooper Defendants had knowledge of the false and

misleading statements made to the PSC by SCANA and the individual SCANA Defendants.

The Individual Santee Cooper Defendants remained silent despite this knowledge. The

Individual Santee Cooper Defendants owed a duty of candor and to act in good faith towards

utility customers, but consistently failed in fulfilling that duty.

          79.    On May 30, 2008, in combination with its application to construct the nuclear

facility, SCANA requested approval from the PSC for the first of nine rate increases to

customer charges for the purpose of funding the Nuclear Reactor Project. The proposed average

increase to the residential class was 0.52%; to the small general service class was 0.48%; to the

medium general service class was 0.51% and to the large general service class was 0.44%. 17

          80.    On or about March 2, 2009, pursuant to the BLRA as provided by Order No.

2009-104(A) and relying on the RICO Defendants’ false and misleading representations and

material omissions, including but not limited to those set forth in ¶¶ 68 and 70, supra, PSC

approved SCANA’s proposal to construct the Nuclear Reactor Project and to increase amounts

charged to the residential class, the general service class, the medium general service class and

the large general service class.

          81.    On May 29, 2009, pursuant to S.C. Code Ann. § 58-33-280, SCANA submitted

its second request for the approval of revised rates and advance charges subsequent to the initial

revised rates approved on March 2, 2009 in Commission Order No. 2009-104(A), Docket No.



17
     Order 2009-104, p. 2.
                                                  19
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2008-196-E. The proposed average increase to the Residential class was 1.21%; to the Small

General Service class was 1.07%; the Medium General Service class was 1.13%, and to the

Large General Service class was 0.95%. 18

        82.    In its May 29, 2009 application, SCANA falsely represented to the PSC that

construction of the Project was progressing on schedule to meet the “guaranteed” Unit 2 & 3

Substantial Completion dates of April 1, 2016 and January 1, 2019 respectively. 19

        83.    In addition, SCANA represented it had met all current milestones approved for

the project. However, meeting milestones did not mean the project was meeting targets in the

schedule. Instead, milestones triggered payments to contractors, and, at times, milestones were

completed prematurely requiring the milestones to be redone, costing more to Class members. 20

        84.    On September 30, 2009, based upon the false and misleading statements made in

SCANA’s May 29, 2009 application for the approval of revised rates and advance charges, PSC

approved SCANA’s application.

        85.    On March 3, 2010, a progress report from Bechtel indicated that “the project is

not currently working to a schedule.” The RICO Defendants were aware of this assessment but

chose against disclosure.

        86.    As of March 3, 2010 (if not earlier), the RICO Defendants were functioning as a

continuing unit either by actively concealing or by passive omission of the Project’s true state of

affairs in order to personally enrich themselves.

        87.    As of March 3, 2010 (if not earlier), the RICO Defendants knew and agreed to a


18
   Docket No. 2009-211-E, ID 216999, Ex. A at 19, available at
https://dms.psc.sc.gov/Attachments/Matter/8e1e50e2-b385-0f12-b2b5f1caee5040f8.
19
   Id. at 20.
20
   It should be noted that milestones were used to trigger payments in the contract and, often
times, construction was accelerated to meet milestones, only to have to be re-done when the
construction schedule caught up to the milestone, increasing the cost of the Project.
                                                20
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common objective that the Project’s true state of affairs had to be concealed from the general

public, customers, investors, regulators, and/or government officials in order to carry out the

scheme to enrich themselves.

       88.        As of March 3, 2010, the fraudulent acts described herein constituted a pattern of

racketeering on the part of the RICO Defendants.

       89.        The fraudulent acts described herein continued and were ongoing as alleged,

infra, until the public exposure in July, 2017of the numerous issues that plagued the Nuclear

Reactor project.

       90.        The RICO Defendants knowingly and willfully agreed with each other that the

true state of affairs would be fraudulently concealed from the PSC, other regulators, the Class,

and the public.

       91.        This agreement among the RICO Defendants to fraudulently conceal the true

state of affairs as alleged herein from the PSC, other regulators, the Class, and the public from

the PSC, other regulators, the Class, and the public was essential to carrying out their scheme to

personally enrich themselves.

       92.        The fraudulent acts, concealing the true state of affairs from the PSC, other

regulators, the Class, and the public, have the same or similar purposes, results, participants,

victims, or methods of commission, or otherwise are interrelated by distinguishing

characteristics and are not isolated events. In particular, the Class are the same victims. The

purpose of these fraudulent acts were to continue the Nuclear Reactor project.

       93.        RICO Defendants knew that revealing the truth about the Nuclear Reactor

project would have led to the Project being terminated.

       94.        RICO Defendants knew and agreed to continue to make false statements



                                                  21
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regarding the Project so that they could enrich themselves.

        95.      On May 27, 2010, pursuant to S.C. Code Ann. § 58-33-280, SCANA submitted

its third request for the approval of revised rates and advance charges. The proposed average

increase to the Residential class was 2.82%; to the Small General Service class was 2.71%; to

the Medium General Service class was 2.82%, and to the Large General Service class was

2.55%. 21

        96.      In Exhibit A to its May 27, 2010 application, SCANA falsely represented that

the Company was on track to complete the Units at the construction cost forecast of $6.3 billion

dollars, and that construction of the project was progressing on schedule to meet the Unit 2 & 3

Substantial Completion dates of April 1, 2016 and January 1, 2019. 22

        97.      On September 30, 2010, based upon the false and misleading statements made in

SCANA’s May 27, 2010 application for the approval of revised rates and advance charges, PSC

issued an Order Approving Revised Rates. 23

D.      Westinghouse Issues Internal Report on Risks Associated with AP1000 Projects,
        the Text and Substance of Which Was Kept Secret from Regulators and the Public.

        98.      In August 2011, Westinghouse circulated an internal report entitled “The Case

for Paradigm Shift: An assessment of project delivery risk against the backdrop of industry

practice,” which detailed risks associated with the AP1000 projects (the “WEC Report”).

        99.      The WEC Report identified multiple risks associated with the AP1000, and

consequently, the Nuclear Reactor Project, including, but not limited to:

              a. the AP1000 Design was not complete, even though it is currently under
                 construction which virtually assures large numbers of changes will occur to both
                 systems and structures;

21
   Docket No. 2010-157-E at 5.
22
   Id. at Ex. A, p. 9.
23
   Docket No. 2010-157-E, Order No. 2010-625.
                                                22
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           b. issuing an incomplete design CFC to the field virtually assures numerous
              Construction Change Order Requests which are likely to result in Delay Claims
              and Liquidated Damages;

           c. the AP1000 Construction Packages differ from typical construction industry
              standard packages;

           d. the cost risks associated with potential division of responsibility errors,
              omissions, and uncertainty regarding agreement on scope and responsibility can
              be significant;

           e. the Construction Packages contain design drawings which utilize what are called
              ‘standard details,’ but they have not been collected in a ready-to-reference
              Standard Detail Library;

           f. the AP1000 construction documents do not currently include a Master Spec nor
              follow the Construction Specifications Institute Format model which is the
              industry standard; and,

           g. the AP1000 designs are not sealed by a professional engineer, in contravention to
              state law.

        100.   Upon information and belief, the RICO Defendants had knowledge of the

Westinghouse White Paper.

        101.   Yet, upon information and belief, none of the RICO Defendants acted on the

White Paper, or otherwise notified the public or regulators of the significant issues associated

with the AP1000 design.

E.      2011–2014: RICO Defendants Increase Costs to Customers based upon Material
        Misrepresentations and Omissions to Regulators and the Public, While Concealing
        Growing Problems with Project Construction.

        102.   On May 27, 2011, pursuant to S.C. Code Ann. §58-33-280, SCANA submitted

its fourth request for the approval of revised rates and advance charges. The proposed average

increase to the Residential class was 2.83%; to the Small General Service class was 2.67%; to

the Medium General Service class was 2.67%, and to the Large General Service class was



                                              23
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2.49%. 24 In Exhibit A to its application, SCANA stated that the Company had met all current

construction milestones approved by the Commission in Order No. 2010-12, as adjusted

pursuant to contingencies authorized in Order No. 2009-104(A) and that 59 of the 146

milestones had been completed as of March 31, 2011. 25 SCANA also falsely represented that it

was “on track to complete the Units at the capital cost forecast of approximately $4.3 billion as

approved in Order No. 2011-345.” 26

          103.   In Exhibit A to its May 27, 2011 application, SCANA stated that construction of

the Units was progressing on schedule, but a delay in the issuance of the Combined Operating

License would not allow Unit 2 to be completed by the substantial completion date set forth in

the EPC Contract. 27 SCANA then went on to falsely state: “[t]he Project Licensing and

Permitting, Engineering, Procurement and Construction work remains on schedule to meet the

Units' Substantial Completion dates.” 28 At this time, the Owners were aware that the delay in

issuance of the Combined Operating License was caused by significant problems in competence

and efficacy of the submodule fabricators. Yet, the RICO Defendants did not disclose these

issues.

          104.   Likewise, Carter falsely stated in a June 24, 2011 television interview on the

Carolina Business Review, “Our plans on the new nuclear unit, Summer Units 2 and 3 with

SCANA, are going very well. Uh, they are on schedule.” 29 This interview was published to

YouTube on October 8, 2012.

          105.   Despite Defendant Carter’s public assertions in 2011—over six years before


24
   Docket No. 2011-207-E.
25
   Id. at Ex. A.
26
   Id. at Ex. A.
27
   Docket No. 2011-207-E at Ex. A, p. 6
28
   Id. at Ex. A, p. 18.
29
   See https://www.youtube.com/watch?v=CvRAAAo4ja0
                                                24
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SCANA and Santee Cooper abandoned the Project—the RICO Defendants had already

identified serious problems with the Project that made timely and cost-effective completion

impossible.

       106.    A May 6, 2014 joint letter from Carter and Marsh to Philip K. Asheman (then-

CEO of Chicago Bridge & Iron) and Daniel L. Roderick (then-CEO of Westinghouse)—which

the RICO Defendants withheld from state and federal regulators and the public until the

Project’s failure—enumerated numerous failures of the Consortium and its contractors,

including the following:

           •   “To meet these [substantial completion] dates [for modules 1 and 20 and Unit 2],
               it was essential that the Consortium timely complete module fabrication delivery,
               and assembly. The Consortium selected Shaw Modular Solutions, LLC (‘SMS’)
               an affiliate of the Consortium, as the module fabricator. Problems with SMS’s
               work began almost immediately.” (emphasis added)

           •   “The NRC attempted to inspect the SMS facility between January 10 and 12,
               2011…To the NRC’s apparent surprise, SMS had not yet made enough progress
               to make an inspection worthwhile.”

           •   SMS stated it “expects to be at a high level of production of structural modules
               in early June 2011” and “expects that shipment of the first structural submodule
               will occur [at] the end of June 2011.” However, “SMS did not meet these module
               production and shipment dates.”

This letter, which is incorporated by reference into this 3rd Amended Complaint, and will be

referred to herein as the “Round Up Letter,” documents the RICO Defendants’ longstanding

knowledge regarding serious obstacles to completion of the Nuclear Reactor Project.

       107.    On October 20, 2011, SCANA and Santee Cooper entered into a binding

agreement, the Design and Construction Agreement (“DCA”), in connection with the Nuclear

Reactor Project. Santee Cooper and SCANA agreed that, under the DCA, SCANA was to act as

Santee Cooper’s limited agent with respect to “all aspects of the acquisition, design,

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engineering, licensing and construction of the Project, including the negotiation, execution and

performance of the obligations and enforcement of the rights of the Parties under the EPC

Agreement.” However, Santee Cooper retained significant rights and responsibilities with

respect to the project, including the right to serve on the Executive Steering Committee charged

with project oversight.

        108.   On May 27, 2012, pursuant to S.C. Code Ann. § 58-33-280, SCANA submitted

its fifth request for the approval of revised rates and advance charges. The proposed average

increase to the Residential class was 2.69%; to the Small General Service class was 2.55%; to

the Medium General Service class was 2.46%, and to the Large General Service class was

2.28%. 30

        109.   In Exhibit A to its May 27, 2012 application, SCANA stated that it anticipated

the gross construction costs to be $156 million over the projected costs on December 31,

2011. 31 SCANA then falsely represented that the project was moving according to schedule.

        110.   However, as set forth in the Round Up Letter, “[b]y July 7, 2012, only 21 of 72

CA-20 sub-modules had been delivered to the site.” In the same letter, Carter and Marsh called

this “poor progress.” 32

        111.   Moreover, the COL license from the NRC to construct and operate the plant was

issued on March 30, 2012, rather than the originally scheduled date of July 1, 2011. Thus, as of

March 30, 2012, nuclear construction on-site had not even commenced.

        112.   On September 28, 2012, based upon the false and misleading statements made in

SCANA’s May 27, 2012 application for the approval of revised rates and advance charges, PSC


30
   Docket No. 2011-207-E.
31
   Id. at Ex. A, p. 3.
32
   Docket 2017-370-E, ID #278515, ORS Exhibit GCJ - 2.10, at 4, available at
https://dms.psc.sc.gov/Attachments/Matter/728981d2-35cb-4859-8ce0-6226a342656b.
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issued an Order Granting Request for Approval of Revised Rates. 33

        113.   March 9, 2013 marked the first nuclear concrete pour of the Nuclear Island

foundation on Unit 2, more than 6 months behind schedule. Prior to this time, critical path

activities could not commence on the project.

        114.   According to Gary Jones, an independent Engineer retained by ORS as a

consultant, as of 2013, “the WEC design was not as complete as advertised and had not been

properly reviewed for constructability by the Consortium or SCE&G. The module fabrication

facilities promoted by Shaw to be state-of-the-art industrial complexes failed to achieve both

quality and productivity, resulting in significant Project delays... The EPC contracting approach

appeared to be driven more by cost reduction concerns than by quality and productivity and

created deep animosity among the Consortium partners and the Owners.” 34

        115.   Despite these delays and constructability issues, all of which were known by

Defendants Marsh and Carter, Defendants praised the Consortium’s efforts in a March 11, 2013

press release celebrating the first major concrete installation at the site. Marsh stated, “[w]e

recognize the significance of this event and appreciate the strong commitment to safety and

collaboration demonstrated by all involved in reaching this milestone.” Carter stated, “[w]e’ve

come to this point through the diligent and conscientious attention to task by everyone involved,

from our crews to the NRC.”

        116.   On May 31, 2013, pursuant to S.C. Code Ann. § 58-33-280, SCANA submitted

its sixth request for the approval of revised rates and advance charges. The proposed average

increase to the Residential class was 3.10%; the Small General Service class was 3.04%; the


33
  Docket No. 2012-186-E, Order No. 2012-761, September 28, 2012.
34
  Docket No. 2017-370-E, ID #278508, Testimony of Gary Jones, September 24, 2018, at 7,
available at https://dms.psc.sc.gov/Attachments/Matter/728981d2-35cb-4859-8ce0-
6226a342656b.
                                                27
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Medium General Service class was 3.07%, and the Large General Service class was 2.66%. 35

        117.   SCANA also informed PSC that “[t]he current cost estimates include no cost

changes apart from changes in timing of costs and minor shifts in costs among cost categories

that occur in the normal course of managing the project” 36 and that “[t]he Project Licensing and

Permitting, Engineering, Procurement and Construction work remains on schedule to meet the

Units’ Substantial Completion Dates taking into account the schedule contingencies approved in

Order 2009-104(A).” 37

        118.   As of March 1, 2013, the RICO Defendants knew that it would be impossible to

achieve the initial substantial completion dates without exorbitant increases in the project costs.

        119.   Beginning in early summer of 2013, SCANA, on behalf of the Owners, stated

repeatedly it intended to provide a revised fully integrated construction schedule to ORS. This

schedule is the only means by which a project can be tracked accurately. SCANA’s statements

were false and were a deliberate attempt to mislead the PSC and ORS about the fact that the true

completion dates of the Project were unknown and not capable of being ascertained. This

deliberate effort by the RICO Defendants to conceal the non-existent Project schedule was

guided solely by the RICO Defendants’ desire to continue reaping the benefits of subsequent

and continued increases to customer bills

        120.   On June 4, 2013, Marsh sent an email to Paula Rowland, requesting it be

forwarded to SCANA Directors. The email stated that Chicago Bridge & Iron (“CB&I”) “have

given us their revised schedule, and based on that schedule the completion of Unit 2 will slide

from March 2017 until late 2017 or the first quarter of 2018”—as compared with the modified



35
   Docket No. 2013-150-E at 6.
36
   Id. at Ex. A, p. 2.
37
   Id. at Ex. A, p. 19.
                                                28
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schedule filed on November 15, 2012 that anticipated commercial operation of Unit 2 on March

15, 2017. 38 “Completion of Unit 3 will also need to move, but they have not focused their

efforts on that calculation at this time,” Marsh added. 39 This email also stated (1) the

Consortium “has failed numerous times in providing an accurate schedule”; (2) “[t]he impact on

cost has not been determined and will certainly be a challenge given our previous settlement

with Shaw that we would not incur any additional costs related to module delivery”; and (3)

“[w]hile we cannot determine the actual cost of delay at this point we are doing our best to

define some preliminary boundaries on the cost of the delay to keep the market from assuming

the worst.” 40 On information and belief, this communication was sent to SCANA directors. The

RICO Defendants did not communicate this email or its substance to the PSC, regulators, or the

public.

          121.   On August 23, 2013, Defendant Carter wrote a letter to Defendant Marsh stating,

“[f]or almost two years Santee Cooper and SCE&G have been working with the Consortium

(WEC and CB&I) to correct submodule delivery issues from the Lake Charles fabrication

facility… Although early indications seemed positive that CB&I executive management were

engaged in improving the performance at Lake Charles, the delivery record unfortunately

demonstrates otherwise, putting the project schedule in jeopardy once again.” 41 Carter

continued, “[t]he Consortium’s inability to deliver submodules has been a major source of

concern for this project for a long time. . . .Our view is that the Consortium’s inability to fulfill




38
   Docket 2017-370-E, ID #279348, ORS Exhibit GCJ – 2.2.A, June 4, 2013, at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/c378ed1f-7c5e-4921-948f-4f617d9abd33.
39
   Id.
40
   Id.
41
   Docket 2017-370-E, ID #278515, ORS Exhibit GCJ - 2.3, at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/c378ed1f-7c5e-4921-948f-4f617d9abd33.
                                                 29
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their contractual commitments in a timely manner places the project’s future in danger.” 42

(emphasis added). The RICO Defendants did not disclose this letter and its substance to the

PSC, other regulatory entities, the Class and the public.

        122.   On September 5, 2013, Defendant Marsh emailed Roderick and Asherman,

stating: “The Consortium is now in its third year of unsuccessful attempts to resolve its

manufacturing problems at the facility which continues to impact our project negatively. Your

missed deadlines put potentially unrecoverable stress on the milestone schedule approved by the

SC PSC.”43 The RICO Defendants did not disclose this letter and its substance to the PSC, other

regulatory entities, the Class and the public.

        123.   On September 27, 2013, based upon the false and misleading statements made in

SCANA’s May 31, 2013 application for the approval of revised rates and advance charges, and

with no knowledge of issues addressed in Defendant Carter’s August 23, 2013 letter to Marsh

and Defendant Marsh’s September 5, 2013 letter to Roderick and Asherman, PSC issued an

Order Granting Request for Approval of Revised Rates. 44

        124.   In an October 21, 2013 inter-office memo to his executive team, documenting a

VC Summer Consortium meeting on September 18, 2013, Defendant Carter stated, “Kevin

[Marsh] and I went on to note that we have received so many new schedules that they are

meaningless. We have no real confidence to provide modules as scheduled.” 45 The text and

substance of this memo were not revealed to the PSC, other regulatory entities, the Class and

the public.


42
   Id.
43
   Docket 2017-370-E, ID #278515, ORS Exhibit GCJ - 2.5, at 2, available at
https://dms.psc.sc.gov/Attachments/Matter/c378ed1f-7c5e-4921-948f-4f617d9abd33.
44
   Docket No. 2013-150-E, Order No. 2013-680, September 27, 2013.
45
   Docket 2017-370-E, ID #278515, ORS Exhibit GCJ - 2.5, at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/c378ed1f-7c5e-4921-948f-4f617d9abd33.
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        125.   Instead, the RICO Defendants’ public disclosures painted a different picture. On

November 4, 2013, SCANA transmitted a press release celebrating the nuclear island basemat

for Unit 3, which expressly praised the RICO Defendants’ and the Consortium’s performance.

In the press release, Defendant Marsh stated, “This is another example of our outstanding

collaboration with Santee Cooper, CB&I, WEC, and many other stakeholders who play a role in

providing South Carolina with the best solution for meeting the long-term need for clean, safe,

and reliable power.” 46 In the same press release, Defendant Carter also lauded the project

progress, claiming the projected had come “a long way…” and that “this milestone gets us one

step closer to the finish line and the many benefits these units will provide for our state.” 47

        126.   However, during the same timeframe, Defendants’ May 6, 2014 Round Up

Letter itemized the Consortium’s history of poor performance throughout the project. 48 In

addition to an itemized airing of the Owners’ grievances, the letter stated that the delays had

cost $150 million to date. 49

        127.   Despite the language of the Round Up letter, on May 22, 2014, the Owners

transmitted a press release via the internet and, upon information and belief, by email, lauding

the placement of a containment vessel bottom head on Unit 3. In the SCANA press release,

Defendant Marsh is quoted as stating, “Placement of the Unit 3 Containment Vessel Bottom

Head is one of many examples of progress occurring daily on our nuclear site.” 50 Defendant

Carter is also quoted in the press release stating, “We are now far enough into this project that


46
   Docket 2017-370-E, ID #278515, ORS Exhibit GCJ - 2.6, at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/c378ed1f-7c5e-4921-948f-4f617d9abd33.
47
   Id.
48
   Docket 2017-370-E, ID #278515, ORS Exhibit GCJ - 2.10, available at
https://dms.psc.sc.gov/Attachments/Matter/728981d2-35cb-4859-8ce0-6226a342656b.
49
   Id. at 13
50
   Docket 2017-370-E, ID #278515, ORS Exhibit GCJ - 2.11, at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/728981d2-35cb-4859-8ce0-6226a342656b.
                                                 31
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we are seeing a steady march of progress toward new nuclear power for South Carolina. I

congratulate the folks who are working hard on site for accomplishing another key milestone.” 51

(Emphases added).

        128.   SCANA’s seventh request for the approval of revised rates and advance charges,

submitted on May 30, 2014, (after issuance of the Round Up Letter) failed to disclose problems

with the project. 52 The proposed average increase to the Residential class was 3.09%; to the

Small General Service class was 3.08%; the Medium General Service class was 3.07%, and to

the Large General Service class was 2.70%. 53

        129.   In Exhibit A to its May 30, 2014 application, SCANA reported that

Westinghouse was in the process of assembling a Revised Fully-Integrated Construction

Schedule that would provide a more detailed evaluation of the engineering and procurement

activities necessary to accomplish the schedule. 54 However, SCANA informed PSC that the

revised construction schedule would affect cash flow estimates, but that the Owners had not

accepted responsibility for any of the additional estimated costs as a result of revisions to the

schedule. 55

        130.   On June 19, 2014, Ron Jones, a vice president at SCANA, wrote a letter to Chris

Levesque at Westinghouse (“the Ron Jones letter”) that stated, in part, “The Consortium is in

the process of preparing another re-baseline of the project work schedule. You had previously

promised to provide that document on May 30, 2014, but we now understand that you anticipate

taking an additional 6 weeks to prepare it. . . .We also wish to remind you that the current



51
   Id.
52
   Docket No. 2014-187-E.
53
   Id. at 6.
54
   Id. at Ex. A, p. 3.
55
   Id. at Ex. A, p. 4.
                                                 32
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progress payment schedules are out of sync with the currently anticipated dates for units 2 and 3

substantial completion. . . . The Consortium have found it necessary to again re-baseline the

work schedule because of the Consortium’s own performance deficiencies.” 56 (Emphasis

added.)

          131.   The RICO Defendants withheld the text and substance of the Ron Jones letter

from the PSC, regulatory entities, the Class and the public.

          132.   On September 8, 2014, Defendant Carter emailed Defendant Marsh: “[M]y sense

is that neither the Owners nor the Consortium have any real confidence that the proposed rollout

schedule that the Consortium shared with the Owners on August 1st is achievable. I am

concerned that we have become tied to artificial dates, both past and future, often driven by

disclosure considerations.” 57 (Emphasis added.) Defendant Carter withheld the text and

substance of this correspondence from the PSC, regulatory entities, the Class and the public.

          133.   On September 27, 2014, based upon the false and misleading statements made in

SCANA’s May 30, 2014 application for the approval of revised rates and annual charges, and

the aforementioned material omissions of fact, PSC issued an Order Granting Request for

Approval of Revised Rates.

          134.   In an earnings call on October 30, 2014, Defendant Byrne stated he anticipated

Unit 2 would be completed late 2018 or the first half of 2019 (with substantial completion of

Unite 3 about 12 months later) 58, and anticipated a cost increase of $660 million (in 2007

dollars) “principally related to these delays to achieve the late 2018 substantial completion date


56
   Docket 2017-370-E, ID #278515, ORS Exhibit GCJ - 2.12, at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/728981d2-35cb-4859-8ce0-6226a342656b.
57
   Docket No. 2017-370-E, ID #278563, ORS Exhibit GCJ – 4 at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/86c75b5c-3b52-4190-81ff-e2e25d8c499d.
58
   Docket No. 2017-370-E, ID #278518, ORS Ex. GCJ – 2.18 at 8, available at
https://dms.psc.sc.gov/Attachments/Matter/f34a2e3e-e734-49bd-a280-3a898b0112f2.
                                                33
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for unit 2.” 59. Byrne also stated during this call that ratepayers would be responsible for cost

overruns. 60

          135.   However, an undisclosed November 2014 internal Santee Cooper estimate of

project completion anticipated a 27 month delay on Unit 2 (a delay from March 2017 to June

2019) and a 25 month delay on Unit 3 (delay from May 2018 to June 2020). 61

          136.   Around roughly the same time, an internal SCANA report prepared by SCANA

Services employees also estimated completion would cost more than twice as much as the

Westinghouse estimate of $660 million.

          137.   Neither the SCANA report nor the Santee Cooper estimate of project completion

was ever made public during the pendency of the project.

G.        2014–2015: As Project Trajectory Worsens, RICO Defendants Continue a Pattern
          of Material Misrepresentations and Omissions, and Intentionally Fail to Disclose
          the Existence of an Independent Assessment by the Bechtel Corporation to
          Regulators, Investors, and the Public.

          138.   In August 2014, WEC provided an initial amended Estimate at Completion,

“EAC”, stating it would cost an additional $600 million to complete the Project on time. This

number was based upon an as-yet unachieved level of employee productivity.

          139.   On September 3, 2014, Defendant Marsh emailed Defendant Carter stating

SCANA was ready to engage an outside expert to assist with the project schedule and status

review.

          140.   On January 28, 2015, Bechtel personnel met with Defendants Carter and Crosby

to develop a proposal for an assessment of the Project construction and management. Bechtel

emailed a draft proposal to Santee Cooper executives which estimated a cost of $1,000,000 for

59
   Id.
60
   Id. at 20.
61
   ORS Exhibit GCJ - 2.49, Docket No. 2017-370-E, September 24, 2018, 9:09 PM, at 21 n.1.
                                               34
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the assessment to be conducted by a staff of ten senior Bechtel employees.

        141.   On February 11, 2015, Carlette Walker, who served as SCANA’s Vice President

of Nuclear Finance Administration, emailed Evelyn Varn at SCANA. Referring to the Reactor

Project, Walker stated, “I will say this project and my role is really stressing me to the max. I

don’t want to go to prison over this stupid job and I know I wouldn’t get any backing if it came

down to someone making me one of the fall guy(s).” 62 (Emphasis added).

        142.   On February 17, 2015, Santee Cooper executives recommended the engagement

of Bechtel at a meeting with SCANA executives. The RICO Defendants did not publicly

disclose their discussions with Bechtel, or the concerns the RICO Defendants shared over the

WEC EAC, nor did the RICO Defendants provide information to regulatory entities about

engaging a consultant to perform a project assessment.

        143.   During a February 19, 2015 earnings call, Steve Byrne expressed optimism that

cost overruns would be approved by PSC, stating, “It would have to really be imprudent before

they would deny it and imprudency on the part of us, the utility, which I think would be very

difficult for anybody to prove.” (Emphasis added).

        144.   According to a March 16, 2015 article in a publication of Moody’s, “SCANA

and SCE&G are completely exposed to and dependent on the BLRA. The utility has exhausted

its financial cushion, is over-budget and still years away from commercial operation.” 63

        145.   On March 12, 2015, SCANA submitted to the PSC a filing to obtain an order to

Update Capital Cost and Schedule. 64 Gary Jones concluded in pre-filed testimony dated

September 24, 2018, that this filing was “seriously deficient and presented unsubstantiated,


62
   Docket 2017-370-E, ID #279348, ORS Exhibit GCJ 2.20.A, at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/3660e68a-0454-4ae8-9b70-e545f425f5a7.
64
   SCE&G March 12, 2015 filing under [PSC] Docket No. 12 2015-103-E
64
   SCE&G March 12, 2015 filing under [PSC] Docket No. 12 2015-103-E
                                               35
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misleading and baseless estimates of the revised Project construction schedule and costs.” 65

        146.    As Jones further testified, “SCE&G itself did not believe the cost and schedule it

submitted to the PSC, but rather only sought the approval of those revisions as a means to gain a

rate increase.” 66

        147.    Jones also stated in his pre-filed testimony that “…members of the Consortium

knew or should have known the Project was in jeopardy and should have been thoroughly

reviewed relative to factors contributing to significant and increasing delays in construction and

budget and cost overruns and that a revised resource-loaded fully integrated schedule should be

developed and implemented.” 67 However, notwithstanding Defendants’ knowledge, the Project

continued unabated.

        148.    During the PSC hearing on docket 2015-103-E, SCANA testified that it intended

to hold the Consortium to the guaranteed substantial completion dates of March 15, 2017 for

Unit 2 and May 15, 2018 for Unit 3, as provided by Order No. 2012-884.

        149.    However, in a revised EPC contract, executed just months after the 2015 hearing,

SCANA sought to modify the substantial completion dates proposed to the Commission to June

19, 2019 for Unit 2 and June 16, 2020 for Unit 3.

        150.    These requests to modify the project schedule enabled SCANA to request a

revised rate increase without a general rate case. Indeed, this same tactic was employed on four

previous occasions throughout the Project.

        151.    According to the sworn testimony of Carlette Walker in 2018, Defendants

Marsh, Byrne, and Addison pressured her to lie in her 2015 written and sworn testimony before


65
   Docket No. 2017-370-E, ORS Testimony of Gary C. Jones, September 24, 2018,
https://dms.psc.sc.gov/Attachments/Matter/3e6b1499-a97f-4fc8-aca4-874b2b7bd314
66
   Id.
67
   Id.
                                                36
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the PSC. Prior to submitting her testimony, Walker calculated the remaining project cost was

over $1 billion. But “Kevin [Marsh] made the decision that he was going to go with the low

[Westinghouse] number. It was a number he could point to that Westinghouse had given him as

the price tag to finish the project.” 68 At roughly the same time, Ms. Walker took a brief period

of leave from work to care for her sick husband. When she returned, she discovered that the

testimony filed by SCE&G bearing her name included the estimated completion cost she

vehemently opposed.

         152.   Upon information and belief, during the 2015 hearing, Defendant Byrne falsely

testified that the schedule presented to the PSC in connection with the 2015 rate case

represented a “revised, fully integrated construction schedule.” In fact, such a schedule did not

exist.

         153.   Even though the Owners did not trust the accuracy of the schedule and cost

values provided by the Consortium, they nevertheless submitted these schedules in the March

12, 2015 PSC filing, and publicly insisted that the project could be completed within the

projected dates.On April 6, 2015, Defendant Crosby emailed Defendant Byrne and Jeffrey B.

Archie, a Senior Vice President and Chief Nuclear Officer of SCE&G, a chart he described as

“a good visual aid which projects the end view total target cost impact of the Consortium’s poor

management and productivity of labor ratios.” 69 (Emphasis added).

         154.   Meanwhile, following an April 7, 2015 presentation Defendant Marsh approved

the decision to hire Bechtel subject to the approval of the SCANA Board. Ultimately, SCANA’s

and Santee Cooper’s boards approved the Bechtel hiring.


68
   Docket 2017-370-E, ID # 279640, Deposition Transcript of Carlette Walker, Volume 1,
https://dms.psc.sc.gov/Attachments/Matter/37936bce-d479-46b3-a9ca-450c3fb3c35d
69
   Docket 2017-370-E, ID #278522, ORS Exhibit GCJ – 2.24 at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/2a39943b-4488-41d7-bee7-00f5813981b8.
                                               37
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        155.   The RICO Defendants did not disclose that the Owners were considering hiring

Bechtel to assess the Project. As Gary Jones testified to the PSC, “[k]nowledge of this pending

assessment would more than likely result in postponement of the review of SCE&G’s March

12, 2015 filing until the review was completed and results were available.” 70

        156.   The RICO Defendants nevertheless proceeded with the March 12, 2015 petition.

        157.   On May 29, 2015, pursuant to S.C. Code Ann. § 58-33-280, SCANA submitted

its eighth request for the approval of revised rates and advance charges. 71 The filing disclosed a

significant change: the commercial operation date for Unit 2 was now postponed to June 19,

2019. The proposed average increase to the Residential class was 2.80%; to the Small General

Service class was 2.89%; to the Medium General Service class was 3.00%, and to the Large

General Service class was 2.57%. 72

        158.   In Exhibit A to its May 29, 2015 application, SCANA reported that while

construction was slightly delayed, the increase in delayed milestones was the result of the

Revised, Fully-Integrated Construction Schedule. 73 However, at the time of this application,

Defendants were aware that no such schedule existed.

        159.   Contemporaneous with Defendants’ 2015 engagement of Bechtel for purposes of

a project assessment, the RICO Defendants continued to publicly claim              the Project was

achieving good progress and represented good public policy.

        160.   For example, in a July 23, 2015 press release transmitted by SCANA celebrating

the installation of the CA01 module, Defendant Marsh stated, “[s]uccessful placement of this



70
   Docket No. 2017-370-E, ID #278508, Testimony of Gary Jones at 11, available at
https://dms.psc.sc.gov/Attachments/Matter/3e6b1499-a97f-4fc8-aca4-874b2b7bd314.
71
   Docket No. 2015-160-E
72
   Id. at 6.
73
   Id. at Ex. A, p. 3.
                                                38
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major module demonstrates the progress being made with our new nuclear units that are under

construction at V.C. Summer . . . Adding more nuclear energy to our generation mix is the best

solution for providing South Carolina large-scale energy that is clean, safe, and reliable.” In the

same release, Defendant Carter stated, “[t]he successful placement of the CA01 module marks a

significant milestone for this project. The nuclear units at V.C. Summer remain a critical

component of Santee Cooper’s long-term plan to diversify our generation mix and to continue

to provide low-cost, reliable and environmentally-sound electricity to our customers.”

        161.   Bechtel’s engagement on the Project began on August 10, 2015.

        162.   During a September 2015 conference call, Santee Cooper executives discussed

whether to disclose the engagement of Bechtel to investors. Notes taken from the meeting pose

the question, “POS/OS Mini-Bond,” “Bechtel Assessment,” “Disclose or Not?” 74

        163.   Carter and other Santee Cooper executives attended this meeting. Following this

meeting, and until suspension of construction on the Project, none of the RICO Defendants ever

disclosed the existence of the Bechtel assessment.

        164.   In September 2015, SCANA executive James Swan IV wrote fellow executives,

“FYI—Deloitte will be asking about whether (or why not) we mention the Bechtel consulting

engagement. The initial thinking I believe is that we will not mention it. … Stay tuned.”

        165.   Ronald Lindsay expressed in an email around this same time that SCANA’s

executives were in “complete agreement that no disclosure should be made.” A few days later,

SCANA’s outside counsel expressed that Jimmy Addison “didn’t want to volunteer anything




74
   See Thad Moore, “During Nuclear Audit, Santee Cooper Executives Faced a Question:
‘Disclose or Not?’ The Post and Courier (Aug. 27, 2018),
https://www.postandcourier.com/business/during-nuclear-audit-santee-cooper-executives-faced-
a-question-disclose/article_ee13b992-a7de-11e8-87d7-2ba1c923965f.html.
                                                39
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about it” in an SEC filing. 75

        166.    SCANA officials encouraged Santee Cooper executives not to disclose the

existence of the Bechtel audit. SCANA attorney Alvis Bynum wrote in an email to Defendants

Byrne, Addison, and other SCANA executives, “[t]hey [Santee] are debating whether to

mention the Bechtel study. I am not clear how you would feel or if Santee Cooper is even

asking our opinion.”

        167.    SCE&G and SCANA Senior Vice President Archie responded by email, telling

SCANA’s team he would speak with Michael Crosby and emphasize the “problem that

[disclosure] creates for us.” 76

        168.    On September 10, 2015, based upon the false and misleading statements made by

SCANA in its May 26, 2015 application for the approval of revised rates and advance charges,

and the RICO Defendants’ withholding of material information, set forth above, PSC issued

Order No. 2015-661 approving SCANA’s petition to update and revise the project costs and

schedule. PSC approved an increase of the base project cost of $698.2 million (over 2007

dollars), and an extension of the commercial service deadline of Unit 2 to June 19, 2019 and

Unit 3 to June 16, 2020. Though SCANA reduced its return on investment from 11% to 10.5%,

this return on investment remained well above the industry average.

H.      2015–2016: RICO Defendants Concealed and Sought to Suppress Bechtel’s Dire
        Assessment of the Project and Forecast of Schedule Delays, While Continuing to
        Obtain Rate Increases and Investment in the Project.

        169.    Santee Cooper executives were the first to learn the results of Bechtel’s

assessment of the Project. On October 14, 2015, Defendant Crosby forwarded to Defendant

75
   https://www.postandcourier.com/business/scana-decided-not-to-disclose-critical-review-of-
sc-nuclear/article_41f8e652-cd84-11e8-b232-0b0f1c3de3a4.html.
76
   https://www.postandcourier.com/business/scana-decided-not-to-disclose-critical-review-of-
sc-nuclear/article_41f8e652-cd84-11e8-b232-0b0f1c3de3a4.html.
                                                 40
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Carter an October 13 email sent to Crosby from Carl Rau of Bechtel. Crosby wrote, “Carl has

provided (you/me) preliminary bullet notes from the Assessment (see below) …SCE&G has not

seen this yet. I do not see any real surprises … the Bechtel projection on commercial operation

dates is sobering.” (Emphasis added.) Rau referred to the content of his October 13 email to

Crosby as a “Preliminary Assessment, which will form the basis of our presentation to the

execs.” Among many pertinent findings, Bechtel noted:

        a. The “Scope of the Assessment” was to “[e]valuate the status of the project to assess
           the Consortium’s ability to complete the project on the forecasted schedule…Focus
           was not on cost.”

        b. “The project management approach used by the Consortium does not provide
           appropriate visibility and accuracy on project progress and performance. There is a
           lack of accountability in various departments in both the Owner’s and Consortium’s
           organizations… The current hands-off approach taken by the Owners toward
           management of the Consortium does not allow for real-time, appropriate cost and
           schedule mitigation. The WEC-CB&I relationship is extremely poor caused to a
           large extent by commercial issues. The overall morale on the project is low.”

        c. Bechtel projected that the commercial operation date of Unit 2 would be extended
           “18-26 months beyond the current June 2019 commercial operation date,” and the
           commercial operation date of Unit 3 would be extended “24-32 months beyond the
           current June 2020 commercial operation date,” with a probability of “50-75%.”
           (Emphasis added.)

        d. “The Consortium’s forecasts for schedule durations, productivity, forecasted
           manpower peaks, and percent complete are unrealistic.”

        e. “The Owners do not have an appropriate project controls team to assess/validate
           Consortium reported progress and performance.”

        f. “Construction productivity is poor.” 77

Many of Bechtel’s findings regarding productivity were consistent with the October 2014


77
   Docket 2017-370-E, ID #278525, ORS Exhibit GCJ 2.36 at 2–3, available at
https://dms.psc.sc.gov/Attachments/Matter/0c13a2d3-b4ce-43c0-88ab-ae9d6ad4750d.
                                               41
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findings of SCANA’s own internal review team.

        170.   Bechtel presented its initial findings to Santee Cooper and SCANA executives at

SCANA headquarters on October 22, 2015 (“the Bechtel initial assessment”). These findings

were consistent with and a restatement of its initial assessment communicated to Crosby.

Bechtel’s presentation included numerous recommendations, such as to develop an “Owner’s

Project Management Organization”—which resulted from its determination that the Owners

failed to fulfill their oversight and accountability function. Other notable findings included:

        a. “Based on our assessment, the current schedule is at risk.”

        b. “The Project needs to experience some successes, no matter how small.”

        c. “There is a lack of accountability in various Owner and Consortium departments.”

        d. “The approach taken by the Owners does not allow for real-time, appropriate cost
           and schedule mitigation.”

        e. “The Consortium does not appear to be commercially motivated to meet Owner
           goals.”

        f. “Engineering staffing remains extremely high . . . for the reported percent complete
           of the design; however, it appears that the staffing is needed to complete the design.”

        g. “The Consortium’s forecasts for schedule durations, productivity, forecasted
           manpower peaks, and percent complete do not have a firm basis.”

        h. “The Owners do not have an appropriate project controls team to assess/validate
           Consortium reported progress and performance.”

(Emphases added). 78

        171.   The Bechtel initial assessment to Santee Cooper and SCANA executives

estimated a commercial operation date of December 2020 to August 2021 for Unit 2 and June

78
   Docket 2017-370-E, ID #278525, ORS Exhibit GCJ - 2.37 at 3, 9–31, available at
https://dms.psc.sc.gov/Attachments/Matter/0c13a2d3-b4ce-43c0-88ab-ae9d6ad4750d.
                                                42
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2022 to June 2023 for Unit 3. The assessment added years to the already delayed dates for

substantial completion, and were based on generous assumptions, including that “[a]ll modules

and material will be available to support the assessed construction dates,” “[n]o construction

equipment limitations,” and “[d]esign and work packages are available to support construction

need dates.” 79 According to Bechtel, “[i]ncreasing schedule confidence to 75% increases the

schedule duration by 8 months” beyond the August 2021 date for Unit 2 and June 2022/2023

date for Unit 3. 80 (Emphasis added.)

        172.    Bechtel concluded that “the V.C. Summer Units 2 and 3 project suffers from

various fundamental EPC and major project management issues that must be resolved for

project success.” 81

        173.    On October 27, 2015, five days after Bechtel delivered its initial assessment,

SCANA, on behalf of itself and Santee Cooper, signed an Agreement with Westinghouse that

significantly revised the EPC Contract for the Project. 82 The revision extended the Unit 2

completion date to August 31, 2019 and the Unit 3 completion date to August 31, 2020. 83 CB&I

withdrew from the Consortium and its interest was transferred to Westinghouse. 84 Fluor

Corporation was added as a construction subcontractor reporting directly to Westinghouse. 85

The Amendment also established a Dispute Resolution Board (“DRB”) to resolve issues with




79
   Id. at 24.
80
   Id.
81
   Id.
82
   Agreement (“October 2015 EPC Amendment”), Oct. 27, 2015, available                       at
https://www.sec.gov/Archives/edgar/data/91882/000075473715000076/a20150930-
exhibit1005.htm.
83
   Id. at 3.
84
   Id. at 1.
85
   Id.
                                              43
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milestone payments. 86

        174.   According to the sworn testimony of Westinghouse representative Joni Faliscino,

the October 2015 contract amendment increased the contract price by approximately $300

million, with an option to convert target pricing to a fixed price. The amendment also included

payments of $100 million per month for five months to Westinghouse, until a revised milestone

payment schedule was obtained. 87 These payments frontloaded cost that might otherwise have

been avoided by the RICO Defendants.

        175.   With regard to the October, 2015 amendment, Gary Jones testified before the

PSC, “ it seems likely that negotiations resulting in this revised contract must have been on-going

for some time, although ORS was not advised that these negotiations were underway. Such a

massive change would have warranted reconsideration of SCE&G’s petition and SCE&G’s failure

to inform the PSC of the potential agreement that would affect the pending petition indicates further

that SCE&G valued the increased revenue from revised rates over candor to the PSC.” 88

        176.   Following execution of the EPC Amendment, the Owners made an additional

$100 million payment to Westinghouse beyond the five agreed-upon payments.

        177.   At no time during the remaining months of the project did the RICO Defendants

disclose the outcome of the Bechtel initial assessment even after ORS questioned SCANA

about whether a Bechtel report existed. SCANA told Gary Jones at the October 27-28, 2015

regular monthly construction meeting that “Bechtel’s scope and findings were unknown to those

present, that the assessment had been performed under the direction of upper level executives

and would not be available to those present or ORS and that no written report existed.”

86
   Id. at 3–6 and Ex. E.
87
   PSC Docket 2017-305-E, Exhibit 7.
88
   Docket 2017-370-E, ID #278508, Direct Testimony of Gary C. Jones, P.E., Sept. 24, 2018, at
17, available at https://dms.psc.sc.gov/Attachments/Matter/3e6b1499-a97f-4fc8-aca4-
874b2b7bd314.
                                                 44
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        178.    In subsequent conversations, SCANA falsely told Jones that “nothing new was

found by Bechtel during their assessment and that [Jones] was already aware of all the issues

which they had identified.”

        179.    On November 9, 2015, Bechtel issued its draft report, which incorporated and

expanded upon the conclusions and recommendations provided in its October 13 email from

Rau and its October 22 presentation to SCANA/Santee Cooper executives (“Bechtel Report”).

        180.    On November 12, 2015, Bechtel delivered its draft report to George Wenick, an

attorney who represented SCANA and Santee Cooper. Attorney George Wenick, who

represented both Santee Cooper and SCE&G, relayed to Bechtel that the language in the draft

report criticizing project management, and predicting substantial delays to the completion

deadlines, should be redacted or omitted from the report. (August 2021 for Unit 2, June

2022/June 2023 for Unit 3.) 89

        181.    Despite its knowledge of the Bechtel report, and the historical performance

problems plaguing the Project, Defendant Santee Cooper nevertheless knowingly allowed

SCANA to submit misleading and inaccurate requests for annual rate and advance charge

increases to the PSC. For 18 months after they received the Bechtel Report, SCANA and Santee

Cooper continued to spend an estimated $120 million a month on a project that was falling

further behind schedule and further over budget, most or all of which Defendants sought to pass

onto    South    Carolina     ratepayers.   See   https://www.thestate.com/opinion/opn-columns-

blogs/cindi-ross-scoppe/article175448686.html.


89
   Docket 2017-370-E, ID #278511, ORS Exhibit GCJ - 2.9 at 4, available at
https://dms.psc.sc.gov/Attachments/Matter/e3261799-6763-4ddb-89dd-3dcbad1daf9f; Docket
2017-370-E, ID #278566, ORS Exhibit GCJ – 9 at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/5f81e629-e6a3-482a-92dd-0e1349521250; ID
#278540, ORS Exhibit GCJ – 2.42 at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/e99d055d-b3af-4ebe-bd80-e677cb4da697.
                                                  45
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        182.   Defendant Santee Cooper based its bond issuances on the PSC’s determinations

that the Project could continue.

        183.   In November 2015, Defendant Lindsay, Santee Cooper’s General Counsel, and

others traveled from South Carolina to Atlanta to meet with attorney Wenick for a review of the

Bechtel Report. 90 The participants in this meeting agreed that the commercial operation dates

projected by Bechtel and the Project construction schedule should be redacted from the report.

        184.   In subsequent email correspondence, the RICO Defendants, other SCANA and

Santee Cooper executives, along with outside counsel Wenick, conspired to keep the report

from the public under the auspice of the attorney-client privilege.

        185.   In withholding the Bechtel Report from the public, the RICO Defendants

intended both to continue passing along increased costs to the Class, and to shield the project

from regulatory and public scrutiny.

        186.   In December 2015, Ty Troutman, a Bechtel employee, expressed that the

proposed redactions “defeat the purpose of the assessment and report.” 91 Nonetheless, the RICO

Defendants insisted that Bechtel remove the revised commercial operation dates from the report

along with the discussion of the absent Project construction schedule. 92

        187.   Bechtel’s assessments of the Project schedule were included in a separate

“Schedule Assessment Report,” which was not disclosed to the PSC, state and federal

regulators, the Class or the public until August 2018. 93



90
   Ex. GCJ 2.51, Docket No. 2017-370-E, filed September 24, 2018.
91
    Docket 2017-370-E, ID #278540, ORS Exhibit GCJ – 2.42 at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/e99d055d-b3af-4ebe-bd80-e677cb4da697.
92
   See generally Docket 2017-370-E, ID #278540, ORS Exhibit GCJ – 2.46, available at
https://dms.psc.sc.gov/Attachments/Matter/e99d055d-b3af-4ebe-bd80-e677cb4da697.
93
   See Docket 2017-370-E, ID #278508, Direct Testimony of Gary C. Jones, P.E., Sept. 24,
2018, at 20, available at https://dms.psc.sc.gov/Attachments/Matter/3e6b1499-a97f-4fc8-aca4-
                                                46
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       188.   In January 2016, Carlette Walker, who by then had resigned as SCANA’s Vice

President of Nuclear Finance Administration, left a lengthy voicemail for Santee Cooper

executive Defendant Marion Cherry stating:

       a. “I just wanted to let you know that um I know the truth now and I don't want you
          and um Santee to get screwed anymore by um the executives of SCE&G and
          SCANA, um Kevin Marsh is not the guy that everybody thinks he is, um, he is a liar,
          and he's just like um Steve and Jeff and Jimmy and Marty Phalen they’re all of the
          same cloth. They all think they are the um smartest guys in the room but they’re on
          the frigging take.”

       b. “[N]obody knows this but I went to a lawyer yesterday and they have broken every
          frigging law that you can break, I could shut SCANA down today if I wanted to.”

       c. “[B]ut you know Michael and um Lonnie and you need to push back and don't let
          them continue to mismanage that project, just don't let them, don't sign anything,
          refuse to pay, don't pay SCANA, push back and just say no, we're not going to do it
          because they are mismanaging that project and it's at y’all's expense.”

       d. They're doing it because they want to make money and they're propping up earnings
          to be able to make their … bonuses and it's going to be at your expense so if y'all
          haven't signed that agreement on the purchase price, call whoever you need to call
          and tell them don't sign anything with that management team.” 94

(Emphases added.)

       189.   Upon information and belief, Walker’s voicemail was shared with Defendant

Carter and other Santee Cooper executives.

       190.   Defendant Santee and the individual Santee Defendants did not publicly disclose

Ms. Walker’s voicemail, nor did they investigate further into the contents of the voicemail

regarding the purportedly criminal behavior of SCANA’s executives.

       191.   In a 2018 deposition, Walker testified that Defendants Marsh, and Addison


874b2b7bd314.
94
   Deposition of Carlette Walker, Exhibit 3, available at
https://dms.psc.sc.gov/Attachments/Matter/37936bce-d479-46b3-a9ca-450c3fb3c35d.
                                             47
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“knowingly lied to the public about that fixed-price contract and lied about being able to

complete that project on time.” 95 She further testified that she approached Marsh with her

concerns about the project in 2015. Marsh dismissively brushed her off, stating that he “didn’t

want to hear what [Walker] had to say” and then retaliated against her by placing her on

involuntary “special medical leave” for three months. 96

        192.    On February 5, 2016, the Final Bechtel Schedule Assessment Report and the

Final Bechtel Report were issued. The final report was consistent with Bechtel’s preliminary

assessment, but conspicuously omitted reference to the project schedule, and revised substantial

completion dates. However, the report maintained more knowledgeable management than the

SCANA team was required, and that the Owners needed to take a more hands on approach with

the construction team for the Project to succeed.

        193.    The Final Bechtel Report asserted that “[t]he number of issues identified during

the current civil phase of the construction effort is significant.” 97

        194.    Upon information and belief, the RICO Defendants failed to implement

Bechtel’s recommendation that someone other than the Owners was needed to oversee Project

management.

        195.    Moreover, following issuance of the report, current and former SCANA

executives and board members unlawfully divested themselves of large portions of SCANA

stock. These sales include, inter alia:

            a. Defendant Martin “Marty” Phalen, former SCANA senior vice president of
               administration, sold 42,023 shares of SCANA stock that he indirectly controlled
               on May 1, 2017 for $65.49 per share for a profit of approximately $2.7 million;


95
   Deposition of Carlette Walker, Vol. 1, Apr. 24, 2018, at 117:25–118:3, available at
https://dms.psc.sc.gov/Attachments/Matter/37936bce-d479-46b3-a9ca-450c3fb3c35d.
96
   Id. at 46:4–17.
98
   Deposition of George Wenick, at 250:6–7
                                                  48
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              b. Defendant Mark Cannon, former SCANA vice president and treasurer, sold
                 8,000 shares of SCANA stock that he directly owned on February 29, 2016 for
                 $65.11 per share for a profit of approximately $520,000;

              c. Defendant Russell “Rusty” Harris, president of SCE&G Gas Operations and
                 SCANA senior vice president sold 2,500 shares that he indirectly controlled on
                 February 26, 2016 for $65.26 per share for a profit of approximately $163,000;
                 and,

              d. Defendant James Micali, a former member of SCANA’s board of directors, sold
                 1,000 shares of SCANA stock that he owned for $66.10 on February 23, 2016
                 for an approximate profit of $66,100.

         I.      2016–2017: RICO Defendants Fraudulently Conceal Findings of Bechtel
                 Reports and Financial Condition of Westinghouse While Continuing to
                 Obtain Rate Increases and Issue Bonds.

         196.    Attorney Wenick testified in deposition that he received a “very clear direction”

from Defendant Carter not to provide Carter with a final copy of the Bechtel Report. 98 Upon

information and belief, Defendant Carter’s instruction was a critical basis for the decision not to

release the report publicly.

         197.    The Bechtel Report and Bechtel Schedule Assessment Report were the product

of a two-month review by fourteen highly qualified nuclear professionals with over 500 years of

combined experience and over 300 years of EPC experience on more than 85 projects. Both the

Report and Schedule Assessment were based on a rigorous methodology. The reports, and

particularly how they criticized the project’s lack of schedule, and inability to truly assess

substantial completion, would have guided regulatory entities in their monitoring and oversight

of the Project and should have been material evidence in the rate cases involving the Project.

However, the information contained in the Reports was never disclosed to the public.

         198.    In February 2016, a “Bechtel Report Action Plan” was written by a Santee



98
     Deposition of George Wenick, at 250:6–7
                                                49
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Cooper executive in response to directives from SCANA to prevent distribution of the report.

The “Action Plan” including the following statements:

            a. “What mitigation effort is required to defend potential shareholder suit-Now that
               SCE&G is specifically aware of problems raised in report, failure to act may
               result in O&D liability.”

            b. “What bond disclosures are required- This same concern applies to Santee
               Cooper, disclosures should be similar.” 99

            c. “We will continue to cooperate, within the law with SCE&G’s efforts to avoid
               disclosures on the condition that SCE&G will agree to use the document as a
               template for project administration changes to be jointly decided.”

            d. “First step, determine from Al Bynum [of SCANA] what ORS disclosures are
               contemplated, this will substantially drive all other disclosures.”100

(Emphases added.) Following review of this action plan, the RICO Defendants decided not to

disclose this report to the public.

         199.   Between 2015 and 2016, and after issuance of the Bechtel report, Santee Cooper

sold nearly $2.1 billion in bonds to banks, major financial institutions, and the public to fund the

Project. The bonds issued to fund the Project (“the bond offerings”) included the following:

            a. 2015M1 bonds, totaling $36,136,600;

            b. 2015C bonds, totaling $270,170,000;

            c. 2015E bonds, totaling $300,000,000;

            d. 2016A refunding bonds, totaling $543,745,000;

            e. 2016M1 bonds, totaling $42,142,700;

            f. 2016B bonds, totaling $503,705,000;



99
   No bond disclosures were made.
100
   Docket 2017-370-E, ID #278546, ORS Exhibit GCJ – 2.47, available at
https://dms.psc.sc.gov/Attachments/Matter/b14b3fa5-6114-4c95-84dd-17e01d80a324.
                                                50
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            g. 2016D taxable bonds, totaling $322,650,000; and,

            h. 2016C refunding bonds, totaling $52,400,000

Santee Cooper executives, including Carter, did not disclose the existence of the Bechtel

assessment or any of Bechtel’s findings or conclusions in any prospectuses or other documents

disseminated in connection with the bond offerings.

         200.   In addition, as Santee Cooper issued additional bonds related to the project, it

intended that the obligation to repay the bondholders would be shifted onto its customers and

was further aware that increased project costs for itself had a direct impact on SCANA’s project

costs.

         201.   On March 4, 2016, 101 Defendant Marsh received a letter from Santee Cooper

entitled “V.C. Summer – Units 2 & 3 Santee Cooper Recommendation.” The letter stated in part

that “there is a window for the Owners to impose project changes designed to offset current

critical path material delays and poor construction performance attributed to inadequate project

integration and management, incomplete engineering, and rework associated with ongoing

design alteration.” 102

         202.   The document also stated, “Over the past seven years, the Consortium’s inability

to coordinate itself and complete engineering, procurement, and construction work …has come

at a high cost to Owners. For each month of project delay, Santee Cooper estimates its share of

project cost to be $35 million.” 103 (Emphasis added).

         203.   The document indicated that contractors were not being paid strictly in


101
    Docket 2017-370-E, ID #278546, ORS Exhibit GCJ – 2.51 at 4, available at
https://dms.psc.sc.gov/Attachments/Matter/b14b3fa5-6114-4c95-84dd-17e01d80a324.
102
    Docket 2017-370-E, ID #278546, ORS Exhibit GCJ – 2.49, available at
https://dms.psc.sc.gov/Attachments/Matter/b14b3fa5-6114-4c95-84dd-17e01d80a324.
103
    Docket 2017-370-E, ID #278546, ORS Exhibit GCJ – 2.49, available at
https://dms.psc.sc.gov/Attachments/Matter/b14b3fa5-6114-4c95-84dd-17e01d80a324.
                                               51
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accordance with the milestone payment schedule, sometimes in advance of achieving a

milestone. 104

         204.    Following this letter, and despite SCANA’s awareness of the cost to Santee

Customers, the Owners’ management of the Project did not materially change. In addition,

Defendant Carter did not disclose these concerns or knowledge regarding project management

to the Class or to the public.


         205.    On May 26, 2016, the Owners jointly elected to enter into a fixed-price contract

with Westinghouse and filed documents with the PSC 105 to update the Project’s capital cost and

schedule. The filing was submitted electronically, and ORS was served with a copy via first-

class mail. In that filing, SCANA represented that the Project would enter commercial operation

on August 31, 2019 (Unit 2) and August 31, 2020 (Unit 3). By this time, Bechtel’s assessment

had already demonstrated these completion dates could not be achieved.

         206.    Despite having received the Bechtel Report months earlier, SCANA informed

PSC that overall progress was continuing, and that cash flow forecasts provided by

Westinghouse indicated that it should be able to complete constructing the Nuclear Reactor

Project for $126 million less than the capital cost approved in Order No. 2015-661. 106

         207.    At the same time, beginning in or around June, 2016, emails between and among

the RICO Defendants indicated awareness of the possibility of a Westinghouse bankruptcy.

         208.    Despite this exchange, the RICO Defendants publicly continued to express that

they were unaware of any financial difficulties Westinghouse might be facing. For example, in

an email from ORS Executive Director Dukes Scott to his staff on June 22, 2016, he states,


104
    Id.
105
    Docket No. 2016-223-E.
106
    Id. at p. 6.
                                                 52
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“[SCE&G] denies any knowledge of Westinghouse cash flow issues.”

         209.      On June 27, 2016, pursuant to S.C. Code Ann. § 58-33-280, SCANA submitted

its ninth request for the approval of revised rates and advance charges. 107 The proposed average

increase to the Residential class was 3.10%; to the Small General Service class was 2.99%; to

the Medium General Service class was 3.25%, and to the Large General Service class was

2.96%. 108SCANA did not provide any information about the Bechtel report in this

application. 109

         210.      In November of 2016, Defendant Carter emailed a timeline to Defendant Marsh,

which stated that during July and August 2016, a newly established “Construction Oversight

Review Board” (CORB), an internal management group belatedly established to improve

Project execution, performed “a high-level review of the project schedule, construction,

construction to startup turnover planning, engineering, startup, project management,

procurement, document control, vendor supplied equipment, and component testing.” 110 Several

conclusions were reached at an August 18 executive level exit meeting, which according to

Defendant Carter’s timeline included:

            •      “Schedule has too many activities . . .

            •      Subcontracts are not in schedule

            •      Engineering is impeding construction

            •      Engineering not in schedule -being handled by lists




107
    Docket No. 2016-224-E.
108
    Id. at 6.
109
    Id. at p. 6.
110
    Docket 2017-370-E, ID #278546, ORS Exhibit GCJ - 2.51 at 6, available at
https://dms.psc.sc.gov/Attachments/Matter/b14b3fa5-6114-4c95-84dd-17e01d80a324.
                                                    53
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                  •   Project Management – must get aggressive to hold EPC accountable. Team will
                      not make it without some help.” 111

(Emphasis added). The timeline concluded:

           SCANA’s project management team has many areas of strength (nuclear safety
           culture, operations, NRC management) but does not have the comprehensive
           skills and depth of experience necessary in engineering, scheduling, project
           controls and construction to manage a large new build project laced with
           complexities. Those complexities being (1) a first of a kind nuclear technology (2)
           being deployed by an over-extended equipment manufacturer (Westinghouse), (3)
           backed by an incompetent engineering firm responsible for project integration
           (Stone & Webster now WECTEC), and (4) a Contractor that has been
           disingenuous on multiple issues. The Project would be greatly benefitted by
           infusing the current project management team with a framework of qualified EPC
           managers charged with working collaboratively with the Owner and Consortium
           to identify areas for improvement, suggest proven solutions, and to provide an
           independent perspective on actual progress—the effort aimed at increasing the
           accountability of the Consortium and the success of the project. After three years
           of project delays, and now another five months of Unit 2 delay realized in 2016—
           there should be no shame in reaching out for qualified assistance. 112

Despite these conclusions, the RICO Defendants did not change the management of the Project.

           211.       Instead, SCANA and Santee continued to publicly proclaim substantial progress on the project.

For example, in an August 31, 2016 press release, SCANA and Santee touted the placement of the reactor vessel of

Unit 2. Defendant Marsh stated, “Successful placement of the Unit 2 reactor vessel is a very significant milestone

on our path to completing the construction of the two new nuclear units. . . “This accomplishment is representative

of the collaboration among many people who are working hard every day to provide a clean and reliable energy

future for South Carolina." Carter is quoted in the release: “The Westinghouse-Fluor team has hit several important

milestones this summer, and I congratulate them for the good progress they are achieving. When these units come

online, the customers of Santee Cooper and SCE&G will enjoy clean, non-emitting and reliable electricity for

decades to come.” (Emphases added).

           212.       On September 16, 2016, the CORB issued its first report, which came to many of

the same conclusions found in the Bechtel Report. Among other observations, the CORB report


111
      Id.
112
      Id. at 7.
                                                          54
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highlighted the significant risks and impediments to completing the Nuclear Project on time.

For example, the CORB noted that “the Unit 2 & Unit 3 project schedules include significant

risks to achieve substantial completion” and “project schedule uncertainty is impacting the

efficient assignment of oversight resources.” The CORB report also noted that the schedule

being used by SCANA did not even include “all work to complete the project that should be in

the schedule,” meaning that additional time would have to be added to account for the work

identified by the CORB report, including “subcontractor tasks,” “engineering punch-lists,” “test

progress,” and “licensing inspections, tests, analyses, and acceptance criteria.” 113

         213.   Moreover, the CORB report concluded that “[t]he current schedule for Unit 2 has

slipped 5 months in a 6-month period.” This meant that the Nuclear Project was not progressing

at all, and, for every month that passed, the Nuclear Project schedule lost an additional

month. 114

         214.   By August 2016, according to the CORB report, even SCANA’s own internal

schedule, had moved Unit 2’s completion date from August 2019 into 2020, a fact never

disclosed to the public. Indeed, at this time Defendants insisted that Unit 2 would be completed

by August 31, 2019. 115

         215.   Yet the RICO Defendants continued to make false and misleading

representations to the public and regulators regarding the Project’s progress and projected

completion. For example, five days after issuance of the first CORB report, Defendant Carter

and various SCANA executives appeared at “V.C. Summer Media Day” held at the Project site

in Jenkinsville, SC to highlight the putative progress of the project. At this event, Carter stated:


113
    Docket 2017-370-E, ID #278522, ORS Exhibit GCJ – 2.61, available at
https://dms.psc.sc.gov/Attachments/Matter/99d54a6d-f790-4ea0-88d0-840a5bd843a8.
114
    Norman v. SCANA Corp., 3:17CV2616, Dkt, Doc. No. 72, ⁋⁋ 167-170.
115
    Id.
                                                 55
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         I’ve had the good fortune of being associated with this project since 1983 and I
         can say this therefore with some authority that we are all very fortunate as South
         Carolinians to have a very professional team in the SCEG employees that both
         operate the existing facility and that are constructing these new facilities on our
         behalf so that we do have what is very safe clean and reliable nuclear energy. And
         as you have already heard, we’ve covered a number of very important milestones
         this summer with Units 2 and 3 and we are glad of course to have those behind us
         but I don’t believe we can overstate the importance that these two units have for
         our state.….” 116

(Emphases added).

         216.    On October 26, 2016, based upon the false and misleading statements made in

SCANA’s June 27, 2016 application for the approval of revised rates, PSC issued an Order

granting SCANA’s Request for Approval of Revised Rates.

         217.    In its 2016 Request for a Schedule Modification before the PSC, SCANA
                117
petitioned to         revise the substantial completion date of Unit 2 to August 31, 2019 and Unit 3

to August 31, 2020—substantially sooner than the dates estimated by Westinghouse, Santee

Cooper, and Bechtel, and to raise rates to increase the base project cost by approximately $831

million. PSC Docket 2016-223-E.

         218.    Based on the RICO Defendants’ misrepresentations and material omissions, set

forth above, the PSC approved this schedule change and rate increase by Order No. 2016-794,

dated November 28, 2016.

         219.    On October 28, 2016, Alvis Bynum of SCANA sent an email to Santee Cooper’s

General Counsel, stating, “Kevin [Marsh] is under the impression that you agreed not to

disclose [the Bechtel report.] The report is still a draft.” Bynum made this statement despite his

knowledge that the final version of the report had been issued in February 2016. Santee

116
    Carter’s comments were recorded, broadcasted,               and   published to    YouTube at
https://www.youtube.com/watch?v=RVs94EUz-Ac.
117
    Docket No. 2016-223-E.
                                                   56
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Cooper’s General Counsel replied via email on October 28, 2016, “Al, we agreed that we would

attempt to avoid disclosure and successfully did so. That was before Central learned of the

report through the PSC intervention process.”

         220.   In a November 28, 2016 email between Defendants Carter and Marsh, Carter

stated, among other things:

         a. Our separate, collective and independent analysis suggests that the fixed price
            option offered by WEC is likely significantly less than the cost WEC will
            incur to complete the Project. This is the very reason that we selected the
            fixed price. Regrettably, we must anticipate WEC having financial difficulty
            completing the Project, particularly in a timely manner.

         b. Release of the Bechtel Report to the Cooperatives—We are backed into a
            corner on this. Our largest customer, having learned of it through intervention
            in SCE&G's fixed price petition, demands a copy of the report. Our requests
            to your legal team to put some parameters around the disclosure has been met
            with the response that we should not release it. Not releasing this information
            will likely bring formal requests that will be an untenable position for both our
            companies. 118

(Emphases added).

         221.   On February 13, 2017, Defendant Carter sent an inter-office memo to the Santee

Cooper Board in preparation for an upcoming board meeting. The memo states in part, “[a]s we

approach the joint Board meeting, please allow me to share a few thoughts. First, as background

for the meeting, the following facts are pertinent:

         a.     Money paid to WEC thus far (100%): $6.6 billion.

         b.     Remaining funds to be paid under $6.082 billion fixed price option (100%): $4.2
                billion.

         c.     Current contract completion dates: Unit Two—August 31, 2019 Unit Three—

118
   Docket 2017-370-E, ID #278511, ORS Exhibit GCJ - 2.9 at 1–2, available at
https://dms.psc.sc.gov/Attachments/Matter/e3261799-6763-4ddb-89dd-3dcbad1daf9f.
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                August 31, 2020.

         d.     PTC [production tax credit] deadline date under current law: December 31,
                2020.

         e.     WEC estimated schedule variance prior to Toshiba announcement: Unit Two—
                163 days (February 10, 2020) Unit Three—26 days ahead (August 5, 2020).
                Owners deem these figures unreliable.

         f.     Current work productivity factor average for last 3 months: .7% monthly
                Project completion for Oct-Dec of 2016, currently taking 3 hours of activity
                to complete 1 hour of work.

         g.     Owners’ completion calculation using above productivity factor: 69.1% of
                Project remains to be completed. Project construction progress must
                increase to 2.3% per month to meet current contract completion dates.” 119

(Emphases in original).

         222.   Yet despite these pertinent facts reported internally to the Santee Cooper Board,

Defendant Carter failed to inform the public of the strong likelihood construction would not be

complete by the deadline to receive production tax credits; nor was the public informed of the

dire nature of Westinghouse’s monetary issues.

J.       Knowledge of SCANA and Santee Cooper and the Demise of the Nuclear Project

         223.   As early as 2010, Santee Cooper was in active negotiations to relieve itself of

over 50% of its ownership interest in the Nuclear Project.

         224.   As early as 2011, SCANA and Santee Cooper knew the Project was suffering

from fabrication delays, a delay in issuance of the COLA, and prospective costs associated with

design deficiencies. These issues would result in a 2012 request for a schedule modification, at

an added cost of $250 million.


119
   Docket 2017-370-E, ID #278611, ORS Exhibit GCJ - 2.71 at 1, available at
https://dms.psc.sc.gov/Attachments/Matter/1f42e296-df97-45cc-8629-af4546b26335.
                                               58
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       225.    On a June 3, 2013 investor call, SCANA revealed to investors that there had

been delays and problems with the ability of contractor Chicago Bridge & Iron Company to

ship certain submodules to the V.C. Summer Site, and problems with the V.C. Summer Site’s

ability to receive them. As a result, SCANA said, a “new schedule” had been developed that

pushed the likely in-service date for Unit 2 back from its original estimate of 2016 to as late as

2018. Further, SCANA disclosed that, as a result of these problems, costs on the Project would

increase by $200 million.

       226.    Meanwhile, according to internal Santee Cooper documents, in 2014, Santee

Cooper was privately raising concerns about SCANA’s ability to manage the Nuclear Reactor

Project, and pressuring SCANA to hire an independent construction manager.

       227.    The design and construction issues were therefore known to the RICO

Defendants in advance of applications to the PSC for funding through the BLRA, and in

advance of approval by the Santee Cooper board of increased rates associated with the Project.

       228.    Yet, with knowledge that the Nuclear Reactor Project was plagued with design

and construction issues from inception, the RICO Defendants repeatedly and falsely assured the

public that the project was being constructed according to schedule, and on budget. The RICO

Defendants made these misrepresentations through quarterly reports, annual Integrated

Resource Plans, status updates to ORS, webpages dedicated to nuclear project status updates,

press events, press releases, and monthly bill inserts to customers, among other sources.

       229.    On or about February 14, 2014, SCANA revised the completion schedule to

December 15, 2017 for Unit 2, and December 15, 2018 Unit 3.

       230.    In October 2014, SCANA announced a likely year-long construction delay that

could add an estimated $660 million to SCANA’s portion of the construction budget, with a



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commensurate burden added onto Santee Cooper. The expected delay was allegedly caused by

continued difficulties Consortium members and their contractors were having fabricating the

multi-ton modules that were to make up the structure of the nuclear plant.

       231.    From 2008 until 2017 SCANA and Santee Cooper continued to bill customers

financing costs of the Nuclear Reactor Project, despite knowledge that the Project was unlikely

to ever be completed.

       232.    Throughout this timeframe, from 2008 until 2017, the actions of the RICO

Defendants depended on the continued collaboration of the two entities, without which the

project would have collapsed years before abandonment.

       233.    Throughout the project the SCANA Defendants knew that every delay,

postponement and increased cost shifted to SCE&G Customers would require a

contemporaneous increase in the costs incurred by Santee Customers.

       234.    On July 31, 2017, SCANA issued a press release announcing that it would

abandon the Nuclear Reactor Project. SCANA cited myriad reasons for its decision, including

Santee Cooper’s decision to suspend construction of the project.

       235.    On the same day, Santee Cooper also issued a press release confirming that it too

was abandoning the Nuclear Reactor Project for reasons substantially similar to the ones

advanced by SCANA.

       236.    Notably, SCANA acknowledged that completion of the project would be

“prohibitively expensive” and “would materially exceed prior Westinghouse estimates.” The

Company further admitted that the project could not be completed prior to the January 1, 2021

deadline to receive up to $2 billion in production tax credits.

       237.    As set forth above, the July 31, 2017 admissions of the RICO Defendants were



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all material facts known to the Defendants for years prior to the date of abandonment.

       238.    Upon information and belief, as of August 2017, after nearly a decade of work,

the Nuclear Reactor Project was only one-third complete. Estimates calculated that the total cost

of the reactors, if completed, would exceed $23 billion.

       239.    During the course of the project, SCANA rewarded its executives with

substantial bonuses and salary increases for work directly attributed to the Nuclear Reactor

Project. According to SCANA’s SEC filings:

           a. Defendant Kevin Marsh, SCANA’s Chief Executive Officer and Chairman of the
              Board, received a bonus of $3.3 million in 2016 in part for “oversight and
              support” of the Nuclear Reactor Project construction activities;


           b. Defendant Jimmy Addison, SCANA’s Chief Financial Officer, received a bonus
              of $620,000 in 2016 in part for efforts to secure financing relating to the Nuclear
              Reactor Project;


           c. Defendant Stephen Byrne, SCANA’s Chief Operating Officer, received a bonus
              of $620,000 in 2016 in part for his continuing oversight of various aspects the
              Nuclear Reactor Project construction activities;


           d. Lesser bonuses were awarded to other SCANA employees which were, at least
              in part, related to construction of the Nuclear Reactor Project;


           e. In 2014, SCANA’s top executives, including the Individual SCANA Defendants
              received “performance-based” bonuses equal to approximately 20% of their base
              pay for alleged “operational excellence” relating, at least in part, to the Nuclear
              Reactor Project;

           f. Defendant Stephen Byrne received a bonus in 2012 for $184,750 for his
              supposed “efforts and achievements” associated with the Nuclear Reactor
              Project;

           g. Overall, the pay of SCANA’s top executives increased by almost $6 million
              during the project; and

           h. Since 2007, SCANA has paid its executives and employees about $25 million in

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                “performance based” and discretionary bonuses related in whole or in part to the
                Nuclear Reactor Project.

         240.   SCANA paid these bonuses with full knowledge of the mounting problems with

the Project, and supported these bonuses through fraudulently inflated costs shifted to SCE&G

and Santee Cooper customers.

         241.   Westinghouse filed bankruptcy on or about March 27, 2017 in the U.S.

Bankruptcy Court for the Southern District of New York.

         242.   On or about July 21, 2017, Toshiba, the parent company of Westinghouse,

announced it had reached a settlement with SCANA and Santee Cooper for $2.2 billion dollars

for costs associated with Westinghouse’s failure to perform. This amount was reached despite

the fact that the actual project costs were more than three times that amount. None of the funds

received via the Toshiba settlement have ever been returned to customers.

         243.   On September 27, 2017, SCANA and Santee Cooper sold their settlement with

Toshiba to Citibank for an immediate cash payment of approximately $1.84 billion.

         244.   On September 26, 2017, the South Carolina Law Enforcement Division

(“SLED”) opened a criminal investigation against SCANA for possible criminal fraud related to

the nuclear program.

         245.   In his September 24, 2018 pre-filed testimony, Gary Jones concluded: “there is

no doubt that SCE&G intentionally concealed, omitted, misrepresented and failed to disclose

material facts in its filings with the PSC and correspondence and interaction with ORS and that

SCE&G failed to exercise proper oversight of their contractor to assure prudent management

and oversight as required by the Act.” 120



120
   2017-370-E, Testimony of Gary C. Jones, September 24, 2018,
https://dms.psc.sc.gov/Attachments/Matter/3e6b1499-a97f-4fc8-aca4-874b2b7bd314
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          246.     Jones further testified that “the Company’s major failure, and the one that should

void their attempt to recover all the abandoned cost of the Units, is the intentional and material

misrepresentations, omissions and deception SCE&G perpetrated on the PSC, ORS and

SCE&G customers.” 121

          247.     Pursuant to agreements by and between SCANA and Santee Cooper, every

action undertaken by SCANA was taken on behalf of itself and as the agent of Santee Cooper.

          248.     Moreover, SCANA and SCE&G understood that every action taken with regard

to the Nuclear Reactor Project would financially impact the Class.

          249.     In October 2017, SCANA received a subpoena from the SEC related to the

Project. SCANA is presently the target of a federal grand jury investigation and a state criminal

probe, both concerning the Project. Santee Cooper is also the target of an SEC investigation

concerned with its conduct respecting the Project.

          250.     In the wake of the Project’s failure, Defendants Carter and Marsh resigned. At

the time of his departure, Defendant Carter’s annual salary was $540,929. He is anticipated to

receive $1 million in his first year of retirement, $800,000 for the following 20 years, and

$345,000 annually for the rest of his life.

          251.     Upon information and belief, SCANA has raised the rates of SCANA Customer

Class members nine times to fund the Nuclear Reactor Project. 122 These advanced charges were

solely attributable to nuclear construction and were levied regardless of a customer’s electricity

usage.

          252.     At the height of the project, approximately 18% of the power bill for the

average SCANA customer went toward the Nuclear Reactor Project, and the SCANA Customer


121
      Id. at 32.
122
      Id. at Ex. A, p. 3.
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Class Members contributed over $2 billion towards the Project. In addition, customers,

including Santee Customers, will continue to pay costs associated with the project for decades

to come.

          253.   Santee Cooper has raised its rates five times for costs associated with the Nuclear

Reactor Project. Santee Cooper customers have paid 8% of their bills toward the Nuclear

Reactor Project and have contributed over $530 million thus far. In 2017, Santee Cooper

reduced the rate paid by its customers toward the Nuclear Reactor project to 4.5%. However,

Santee Cooper maintains that its customers are obligated to continue to pay for the costs of the

failed Project on a monthly basis, for decades into the future. 123

          254.   Were it not for the concerted actions of the Defendants in their capacity as

Owners, the Nuclear Reactor Project costs could not have been assessed against customers of

Defendants SCANA and Santee.

          255.   On January 14, 2019 the PSC unanimously adopted a motion to “make a clear and

unequivocal finding [that] the Company[SCE&G] acted imprudently by not disclosing material,

and even potentially decisive, information to ORS and the Commission. Due to the lack of

transparency - the lack of forthrightness - with regard to reports and studies available to the

Company, this Commission was effectively denied the opportunity to fully consider the

prudency of continuing to expend resources on the project with all information available at the

time.” The motion continued: “[u]nder any definition of the term prudence, the Company was

imprudent in its actions in this case with regard to costs incurred after March 12, 2015” and,

“[w]e agree with ORS that it is essential to restore public trust for this Commission to

acknowledge that the regulatory compact between the utility and the regulators was broken by



123
      https://www.thestate.com/news/politics-government/article210782644.html.
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SCE&G.” 124

         256.   Though not monitored by the PSC, Defendants Santee Cooper and the individual

Santee Defendants took the same active steps toward concealment of project conditions, and

assessments, all while repeatedly passing costs on to Santee customers, with knowledge that

SCANA was doing the same with its own customers.

                                           COUNT I

                Violation of the Civil RICO Statute (18 U.S.C. § 1961 et seq.)
                                  (Against All Defendants)

         257.   Plaintiffs repeat and re-allege the allegations set forth above in the preceding

paragraphs as though fully set forth herein.

         258.   Defendants SCANA, SCE&G, Santee Cooper, the Individual SCANA

Defendants, and the Individual Santee Cooper Defendants (“the RICO Defendants”) are

“persons” within the meaning of 18 U.S.C.A. § 1961(3).

         The RICO Enterprise

         259.   At all times relevant to this action, the Nuclear Reactor Project constituted an

 association-in-fact enterprise, including the RICO Defendants, (hereinafter “the Enterprise,”

 the Racketeering Enterprise” or “the Nuclear Reactor Project Enterprise”) within the meaning

 of 18 U.S.C.A. § 1961(4), and said enterprise engaged in activities which have an impact on

 interstate commerce.

         260.   At all times relevant to this action, the RICO Defendants were associated with

 the Nuclear Reactor Project Enterprise and, at the same time, were engaged in other activities

 which were separate and distinct from the Enterprise. The RICO Defendants, as members of



124
   Public Service Commission of South Carolina Commission Directive, dated January 14,
2019, Docket Nos. 2017-207-E, 2017-305- E, and 2017-370-E.
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this Enterprise, functioned as a continuing unit, and communicated between and among

themselves on a continuous basis starting in approximately May of 2008, when, as previously

alleged in paragraph 65, supra, SCE&G, on behalf of itself and Santee Cooper, signed the EPC

Contract with Westinghouse and Stone & Webster, Inc. to act as prime contractors for the

Project, known as “the Consortium.”

      261.    Each and every action undertaken by the RICO Defendants in furtherance of the

Enterprise was performed with the intention of taking property from the Class to which the

RICO Defendants would not otherwise have had access.

      262.    In furtherance of the Nuclear Reactor Project Enterprise, and to gain funds to

which the RICO Defendants were not otherwise entitled, the RICO Defendants engaged in two

or more acts of racketeering including but not limited to:

          a. The cost estimates for the Nuclear Reactor Project made by the RICO
             Defendants on numerous separate occasions were intentionally false and
             misleading;

          b. the time estimates for the completion of the Nuclear Reactor Project made by the
             RICO Defendants on numerous separate occasions were intentionally false and
             misleading;

          c. the RICO Defendants falsely stated that they were not aware of Westinghouse’s
             inability to complete the Nuclear Reactor Project, when in truth and in fact, they
             were well aware of Westinghouse’s glaring deficiencies and negligent conduct;

          d. the RICO Defendants falsely represented that they were controlling costs and
             properly supervising Westinghouse when, in fact, they knew or should have
             known that such was not true;

          e. the RICO Defendants falsely continued to represent that there was a need for the
             Nuclear Reactor Project, despite a decrease in electricity consumption and
             demand;

          f. the RICO Defendants continued to deny the existence of cheaper and readily
             available alternatives that could have met the demands for any actual increase in
             electricity consumption;



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              g. the RICO Defendants hid or downplayed the fact that the Nuclear Reactor
                 Project’s untested design would increase the likelihood of extra design and
                 construction costs for the Nuclear Reactor Project;

              h. the RICO Defendants suppressed the fact that the Nuclear Reactor Project design
                 as presented for approval to the PSC was likely going to change after
                 construction began;

              i. the RICO Defendants intentionally failed to disclose that the proposed generating
                 capacity for the Nuclear Reactor Project greatly exceeded the future anticipated
                 electricity growth of their customer bases;

              j. the RICO Defendants intentionally failed to disclose that the construction
                 timeline estimates for the Nuclear Reactor Project were unreasonable and did not
                 comport with the applicable industry standards;

              k. the RICO Defendants intentionally failed to disclose that construction delays
                 were occurring, such that costs would necessarily increase and the timeline could
                 not be achieved;

              l. the RICO Defendants failed to disclose that a complete fully integrated resource
                 loaded schedule for the project did not exist;

              m. The RICO Defendants failed to disclose that major milestones were being
                 prioritized over the project schedule to boost costs, assessed to customers in
                 furtherance of the RICO scheme;

              n. the RICO Defendants failed to disclose that they knew that Westinghouse’s
                 inability to complete the Nuclear Reactor Project on time and on budget would
                 necessarily lead to substantial increases in construction related costs; and

              o. the RICO Defendants failed to disclose that SCANA and Santee Cooper were
                 paying substantial bonuses to officers and employees relating to the Nuclear
                 Reactor Project on the false premise that the Project was being well managed.

        263.     The RICO Defendants and Co-conspirators were all part of the Racketeering

Enterprise, within the meaning of 18 U.S.C. § 1961(4), which at all relevant times possessed and

continues to possess an ongoing organizational structure with sufficient continuity related to the

Enterprise.

        264.     At all times relevant to this Complaint, the Racketeering Enterprise’s activities

have affected and continue to affect interstate and foreign commerce and have existed separate

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and apart from the racketeering activity. For example, the stated purpose of the Racketeering

Enterprise was to provide nuclear energy to the respective classes. The Racketeering Enterprise

collected an average of more than $150 million dollars a year in revenues from the Class toward

this goal. Yet no nuclear energy has ever been provided to the Class.

        265.    Each RICO Defendant is a “person” within the meaning of 18 U.S.C. § 1961(3)

as they are entities or individuals capable of owning a beneficial interest in property. The RICO

Defendants knowingly and willfully conducted and participated in the conduct of the

Racketeering Enterprise’s affairs, directly or indirectly, through a pattern of racketeering activity

in violation of 18 U.S.C. § 1962(c).

        266.     The purpose of the RICO Defendants’ fraudulent scheme and their infiltration

and use of the Racketeering Enterprise was to fraudulently obtain billions of dollars in proceeds

and profits from their utility customers while misrepresenting and concealing that the RICO

Defendants knew that the cost and time estimates for completion of the Nuclear Reactor Project

made by the RICO Defendants on numerous separate occasions were intentionally false and

misleading as alleged throughout ¶¶ 66-254, supra.

        267.    In furtherance of their scheme, the RICO Defendants used the Racketeering

Enterprise to conceal the fact that they were knowingly and intentionally promoting and

conducting their operations with proceeds and profits derived from the fraudulent inflated

advance finance scheme. For example, the RICO Defendants knew that Westinghouse’s inability

to complete the Nuclear Reactor Project on time and on budget would necessarily lead to

substantial increases in construction related costs. Rather than jeopardize funding, the RICO

Defendants chose to derive more proceeds and profits by knowingly concealing these facts from

the public, including the PSC, ORS, investors, and customers.



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        268.    The RICO Defendants wrongfully used the Racketeering Enterprise to further

their fraudulent objectives of enriching the RICO Defendants through the payment of bonuses

and increased compensation, including compensation alleged supra in paragraph 237.

        269.    The RICO Defendants also used the Racketeering Enterprise to maintain a false

and fraudulent public facade to deceive regulators and the public into believing that certain

SCANA and Santee Cooper executives and employees were achieving “operational excellence”

and had made noteworthy efforts relating to the Nuclear Reactor Project, and that such

executives and employees deserved to receive payment of substantial bonuses and increases in

compensation.

        270.    The RICO Defendants thus perpetuated the Racketeering Enterprise in order to

associate with and conduct or participate, directly or indirectly, in the conduct of the

Racketeering Enterprise’s affairs through the pattern of racketeering activity alleged herein.

Among other things, the RICO Defendants systematically and fraudulently used the

Racketeering Enterprise to disseminate fraudulent and misleading information to the PSC, the

public and the Class.

        271.    There is a substantial nexus between the Enterprise and the RICO Defendants’

unlawful predicate acts in furtherance of their Racketeering Enterprise.

        272.    Furthermore, without the falsities set forth by the collective RICO Defendants,

the Enterprise, and continued collection of fraudulent funds, could not have proceeded.

        273.    As alleged throughout this Complaint, the RICO Defendants were well aware

that their statements and representations concerning the projected costs and progress of the

Nuclear Reactor Project were false and knew that the Project could not be completed within the

projected timeframes or costs.



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        274.    The RICO Defendants thus used the Enterprise as part of their scheme to defraud

the public and the Class into believing their false statements, and they further used the Enterprise

to cover-up the falsity of their public misrepresentations concerning the Nuclear Reactor Project.

        275.    Moreover, the RICO Defendants knew that Westinghouse’s inability to complete

the Nuclear Reactor Project on time and on budget would necessarily lead to substantial

increases in construction-related cost but, nevertheless, concealed their knowledge of the actual

projected costs and time estimates for completion of the Nuclear Reactor Project.

        276.    As part of their scheme, the RICO Defendants intended to support the enterprise

through racketeering activity, including dissemination of false, misleading, material

misrepresentations through the mails and wires concerning the projected costs and completion

schedule, as well as the substantial problems that the Project was experiencing.

        277.    Similarly, the RICO Defendants used the mails and wires in thousands of

communications with the Plaintiffs, Class members, the regulators and the public containing

numerous material misrepresentations and omissions of material facts, all in furtherance of their

fraudulent scheme.

        278.    The RICO Defendants intended that these false and misleading communications

be disseminated through use of the mails and the interstate wires in furtherance of their scheme

to obtain billions of dollars in proceeds and profits at the expense of the Plaintiff Class.

        279.    The RICO Defendants in furtherance of the Enterprise transmitted the false and

misleading information contained in said communications to regulators, the public, and members

of the Class, who relied upon said false and misleading communications when paying the

fraudulently inflated advance finance charges, and were injured by reason of the RICO

Defendants’ fraudulent scheme and unlawful acts in violation of the civil RICO statute.



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         280.    In reliance on the RICO Defendants’ false representations, the PSC allowed

SCANA to collect billions of dollars from customers. Likewise, in reliance on the RICO

Defendants’ false representations, the Santee Cooper Board, authorized the collection of

hundreds of millions of dollars from customers.

         281.    In reliance on these misrepresentations by the RICO Defendants, and the

intentional failure of the RICO Defendants to disclose material facts, Plaintiffs and the Class

paid their fraudulent bills.

         282.    The RICO Defendants also used the mails and interstate wires to communicate

amongst themselves in furtherance of their scheme to hide material information from the public.

         283.    In addition, the RICO Defendants established public channels to disseminate

materially false information about the success of the Enterprise, and its necessity for the future of

energy needs in the state of South Carolina.

         284.    The RICO Defendants also instilled the fear of economic and personal harm into

Plaintiffs and the Class, inter alia, the cessation of electricity services to the Class, to extort

money from the Class, and these acts of economic extortion constitute racketeering activity. The

Class had no choice but to comply with the extortionate demands of the RICO Defendants, in the

face of the monopoly power Defendants exercised over the Class within their respective service

areas.

         285.    The RICO Defendants actively concealed and/or expended time and effort to

diminish, alter, and fraudulently conceal reports or recommendations that were critical of and/or

highlighted the inadequacies of the RICO Defendants’ planning and management of the Nuclear

Reactor Project.

         286.    The RICO Defendants knew there were serious risks associated with their



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decision to derive increased proceeds and profits from the Enterprise, rather than telling the truth

concerning the progress of the Nuclear Reactor Project.

    The RICO Predicate Acts

        287.    The RICO Defendants are jointly and severally liable for each and every

predicate act described herein as a matter of law. Knowledge of and consent to all of the

predicate acts described herein is attributed to each and every RICO Defendant as a matter of

law.

        Mail and Wire Fraud (Violations of 18 U.S.C. §§ 1341, 1343):

        288.    The RICO Defendants carried out their acts of racketeering by utilizing the mails

and interstate wires to further their Enterprise, inter alia, by authorizing and mailing bills to

Class members for electricity services that included inflated charges solely attributable to the

Nuclear Reactor Project, and by using the financial system and wires of interstate commerce to

obtain payments from the Class.

        289.    The RICO Defendants gave, disseminated and communicated false and deceptive

testimony, reports, and projections to induce the PSC and Santee Cooper Board to approve the

Nuclear Reactor Project, and such conduct constitutes racketeering activity by the RICO

Defendants.

        290.    The RICO Defendants gave, disseminated and communicated false and deceptive

testimony, reports, and Nuclear Reactor Project projections to induce the PSC and Santee

Cooper Board to approve the charges for the Nuclear Reactor Project, thus rendering unlawful

the Defendants’ advanced charges to the Class. The costs would not have been shifted onto the

Class had the RICO Defendants told the truth.

        291.    In addition, the RICO Defendants were integral to support one another’s



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respective positions with regard to the project. Without the partnership between Defendants

Santee Cooper and SCANA, the Enterprise would not have been possible, nor could it have

continued. The RICO Defendants thus ratified one another’s actions throughout the project.

       292.    The RICO Defendants’ repeated acts of racketeering, including each monthly bill

mailed to Plaintiffs and the Class, which included charges for the Nuclear Reactor Project,

constitute a pattern of unlawful conduct.

       293.    For the purpose of devising and carrying out their scheme and artifice to defraud

by means of false and fraudulent pretenses, representations and promises, the RICO Defendants

did place in an authorized depository for mail, or did deposit or cause to be deposited with

private and commercial interstate carriers, and knowingly caused to be delivered by the United

States postal service, letters, memoranda, and other matters, in violation of 18 U.S.C. § 1341, or

aided and abetted in such criminal acts by mailing letters referred to in paragraphs 66–254,

supra; mailing materials described in paragraphs 286, supra, and 2941, infra, and mailing to

Plaintiffs and other members of the Class bills containing fraudulent and inflated finance

charges every month from in or about April 2009 to the present (and continuing), constituting

more than one hundred predicate acts in furtherance of the RICO Defendants’ Racketeering

Enterprise.

       294.    For the purpose of devising and carrying out their schemes and artifice to

defraud the Class by means of false and fraudulent pretenses, representations and promises, the

RICO Defendants caused to be transmitted by means of the mails and by wire communication

in interstate commerce, writings, signals and sounds, to wit, interstate electronic mail messages

and/or facsimiles in violation of 18 U.S.C. § 1343, or aided and abetted in criminal acts

including but not limited to:



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             a. Each utility bill mailed or wired to Plaintiffs and the Class every month from
                2009 to the present (and continuing);

             b. Each of the nine (9) requests for revised rate increases submitted by the SCANA
                Defendants to the PSC, supported by the false and fraudulent reports prepared
                by, on behalf of, and ratified by each of the RICO Defendants;

             c. Each of the five (5) rate increases imposed upon customers of Defendant Santee
                Cooper, supported by the false and fraudulent public dissemination of
                information regarding project success, viability, and progress, created, fostered,
                and promulgated collectively by the RICO Defendants;

             d. Webpages, and other information disseminated via the internet and meant for
                public consumption regarding the progress, and status of the project, including a
                YouTube channel dedicated to the project, and links available through the
                respective webpages of Santee Cooper and SCANA regarding the new nuclear
                project;

             e. Other material misrepresentations, half-truths, and omissions, as set forth in
                paragraphs 66-254 supra.; and

             f. Other predicate acts as may be disclosed during the course of discovery, which
                has not yet commenced in this action.

          295.   As Gary Jones concluded in his pre-filed testimony submitted to the PSC on

September 24, 2018: “SCE&G deliberately and repeatedly misled the PSC and ORS by

withholding key information on the projected construction schedule. The actions to withhold

this information resulted in the approval of revised Project construction schedules and budget

increases that would likely not have been approved had this information been properly disclosed

and evaluated by the PSC and ORS. This means that ‘the evidence of record’ required by the

statute to be provided by SCE&G was incomplete, omitted and misleading, and SCE&G used

deception to obtain PSC approval of erroneous schedules and cost estimates.” 125

          296.   As alleged supra in paragraphs 255 through 293 the RICO Defendants have




125
      Testimony of Gary E. Jones, Docket No. 2017-370-E, September 24, 2018.
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engaged in an unlawful 18 U.S.C. § 1961(1) RICO predicate mail and wire fraud scheme.126

Defendants Marsh and Carter aided and abetted SCANA and Santee Cooper in committing the

RICO predicate acts and engaged in unlawful conduct under violation of 18 U.S.C. § 1962(c).

         297.   Defendant Marsh had been the CEO of SCANA since November 30, 2011, its

President and Chief Operating Officer since January 7, 2011 and the Chief Executive Officer of

South Carolina Electric & Gas Company since 2011. As such, Defendant Marsh and the other

SCANA Individual Defendants were fully aware of and had full supervisory authority of

SCANA’s misrepresentations and omissions concerning the Nuclear Reactor Project and knew

that the Project could not be completed in the time frame and for the cost set forth.

         298.   Defendant Carter was the President and CEO of Santee Cooper at all times

relevant to this complaint, and as set forth more fully herein, had been fully aware of and had

full supervisory authority over Santee Cooper’s misrepresentations and omissions concerning

the Nuclear Reactor Project and knew that the project could not be completed for the cost and in

the timeframe set forth.

         299.   The RICO Defendants were fully aware of SCANA’s misrepresentations and

omissions concerning the Project, knew that the Project could not be completed in the time

frame and for the cost set forth, but nevertheless aided and abetted each other to facilitate

continuous and repeated increases to costs borne by Defendants’ customers related to the

Enterprise, and committed the further acts of fraud as set forth above and herein.




126
    The mail and wire fraud was achieved by a scheme to defraud Plaintiffs of the receipt of
honest utility services, involving the material misrepresentations and concealments of fact
alleged herein. This scheme was undertaken with the specific intent to defraud as described
herein and was furthered by the use of interstate wire communications. See, inter alia,
paragraphs 274-280, supra.
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         300.   The Plaintiff Class 127 was injured by reason of the joint conduct of the RICO

Defendants in perpetuating this scheme.

         Obstruction of Justice (18 U.S.C. § 1512(b)–(c))

         301.   In violation of 18 U.S.C. § 1512(b)–(c), and for the purpose of carrying out,

furthering, and perpetuating the RICO Enterprise, the RICO Defendants:

                    a. Corruptly concealed documents with the intent to impair their availability
                        for use in an official proceeding (i.e., a foreseeable grand jury
                        investigation, investigation by the SEC, and/or investigation by the
                        NRC);

                    b. Otherwise sought to obstruct, influence, or impede a foreseeable official
                        proceeding (i.e., a foreseeable grand jury investigation, investigation by
                        the SEC, or investigation by the NRC); and

                    c. Retaliated against Carlette Walker by placing her on involuntary leave
                        after she identified mismanagement and cost overruns related to the
                        Project and sought to offer testimony to the PSC that the projected costs
                        of the Project were much higher than the value SCANA wished to
                        present.

         302.   As detailed in this 3rd Amended Complaint, including paragraphs 158 through

215 the RICO Defendants conspired to, attempted to, and did, conceal the existence, substance,

and text of truthful information regarding the status of the Nuclear Reactor project including,

inter alia: Bechtel’s preliminary assessments—as well as the draft Bechtel Report, final Bechtel

Report, Bechtel Schedule Assessment Report—from SCANA and Santee Cooper investors,

PSC, ORS, other regulators, the public, and the Class. The RICO Defendants accomplished this

end through numerous material misstatements and omissions, including those set forth in the 3rd

Amended Complaint.

         303.   The RICO Defendants knowingly attempted to and did conceal the existence,



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substance, and text of Bechtel’s preliminary assessments—as well as the draft Bechtel Report,

final Bechtel Report, Bechtel Schedule Assessment Report—with the intent of impairing the

availability of the use of these documents in state regulatory oversight proceedings and in

official federal proceedings, including but not limited to a federal grand jury investigation, an

investigation by the SEC, or an investigation by the NRC. The RICO Defendants withheld this

information with the corrupt motive of furthering the RICO Enterprise and enhancing and

retaining past and anticipated future ill-gotten gains associated with the Enterprise.

       304.    The RICO Defendants knowingly persuaded one another and their Co-

Conspirators to perform the acts as alleged herein

       305.    Official proceedings, including investigations by a federal grand jury, the SEC,

and the NRC into the Project, were foreseeable, given the sizeable cost of and investments in

the Project; the cost overruns and delays associated with the Project; the serious misconduct

associated with the Project; the licensing process used by the NRC regarding the first of its kind

AP1000 reactor; and Carlette Walker’s concerns to personnel at SCANA and Santee Cooper

that criminal conduct was occurring at SCANA, which could harm SCANA and Santee Cooper

customers, as described above.

       306.    If the RICO Defendants had acted lawfully and had appropriately disclosed the

existence of the Bechtel inquiry, the Bechtel preliminary assessment, the draft Bechtel Report,

the final Bechtel Report, or the final Bechtel Schedule Assessment Report, the PSC would not

have issued Order No. 2015-661 dated Sept. 10, 2015 approving rate increases sought by

SCANA, acting on behalf of the RICO Defendants, and would not have approved any

subsequent cost increase associated with the Project. Likewise, the Santee Cooper Board would

not have been able to approve subsequent rate increases to its customers in April 2016 or April



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2017 had said information been disclosed to the public.

       The Pattern of Racketeering Activity

       307.    The RICO Defendants’ alleged RICO predicate acts, set forth more fully herein,

constituted a pattern of racketeering activity within the meaning of 18 U.S.C. § 1961(5), in that

the predicate acts are related and continuous. Each predicate act had the same or similar

purpose, which was to make material misrepresentations, omissions and concealments of

material fact as part of a scheme to defraud the public, the Plaintiffs and the Class into believing

that the Nuclear Reactor Project was necessary to provide electricity for the Class, would be

completed within a reasonable period of time and involve reasonable costs, so the RICO

Defendants could fraudulently obtain billions of dollars in proceeds and profits from its

overcharging scheme.

       308.    This pattern of racketeering was separate and distinct from the legitimate

purpose of providing the energy needed by Plaintiffs and the Class, and the funding, promotion

and operation of the Enterprise alleged herein.

       309.    The RICO Defendants were each associated with the Enterprise and did conduct

or participate, directly or indirectly, in the conduct of the affairs of the Enterprise through a

pattern of racketeering activity within the meaning of 18 U.S.C. §§ 1961(1)(B), 1961(5),

1962(b), and 1962(c), to wit:

       a. Multiple instances of mail fraud in violation of 18 U.S.C. § 1341;

       b. Multiple instances of wire fraud in violation of 18 U.S.C. § 1343;

       c. Multiple instances of bank fraud in violation of 18 U.S.C. § 1344; and

       d. Multiple instances of obstruction of justice in violation of 18 U.S.C. § 1512.

       310.    Plaintiffs have sufficiently alleged these predicate acts and pattern of



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racketeering to state a claim under 18 U.S.C. § 1962 in paragraphs 66 through 254, supra. As a

proximate result of said pattern of racketeering activity and RICO violations engaged in by the

RICO Defendants, Plaintiffs and the Class have suffered economic injury and damages to their

business and property, as well as other economic damages.

       Continuity of the Racketeering Activity

       311.    The pattern of racketeering involved multiple predicate acts that have taken place

over many years, thus establishing both relatedness and continuity. These predicate acts

illustrate a threat of continued racketeering activity and evince that the predicate acts constitute

the regular manner by which the RICO Defendants conduct business.

       The Related Predicate Acts

       312.    SCANA’s and Santee Cooper’s pattern of committing predicate acts of

racketeering satisfies the “continuity” requirement of civil RICO, as demonstrated both by the

alleged predicate acts in paragraphs 66 through 254, supra, along with other related predicates

including but not limited to each rate application as described in paragraph 294, supra.

       313.    As a direct result of the RICO Defendants’ unlawful racketeering acts and

violation of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their business or property and

are entitled to recover treble damages and attorneys' fees under 18 U.S.C. § 1964(c).

       314.    The actions of the Nuclear Reactor Enterprise—specifically the charging of the

Class for the construction of nuclear reactors they did not need, which could not be constructed

for the projected costs, and which could not be built within the construction schedule

Defendants falsely claimed they could meet -- are separate and apart from the activities for

which the RICO Defendants are entitled to lawfully engage.

       315.    SCANA would not have received approval to impose these additional charges



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upon the Class if the Bechtel report had been disclosed to PSC, and Santee Cooper would have

been unable to assess its customers for these costs.

            316.   The RICO Defendants individually profited from their participation in the

Racketeering Enterprise and in the acts of Racketeering by and through, among other things,

their receipt of bonuses, increased compensation, increased share price, and the ability to issue

significant bonds associated with the project, as alleged above.

            317.   The RICO Defendants’ racketeering activities affected interstate commerce by,

among other things, the purchase and funding of products outside of the state of South Carolina,

which were then imported into South Carolina.

            318.   The RICO Defendants’ false and misleading representations to, and concealment

of material facts from, the PSC, the ORS, regulatory bodies, and the public, which resulted in

the fraudulently inflated costs passed on to Plaintiffs, were the proximate cause of injuries to the

Class.

            319.   The damages suffered by the SCANA Customer Class, as a result of the conduct

alleged herein committed by Santee Cooper and the Individual Santee Cooper Defendants, are

in an amount to be established at trial.

            320.   The damages suffered by the Santee Cooper Customer Class, as a result of the

conduct alleged herein committed by the RICO Defendants, are in an amount to be established

at trial.

                                             COUNT II

                                         RICO Conspiracy
                                   (Against All RICO Defendants)

            321.   Plaintiffs repeat and re-allege the allegations set forth above in the preceding

paragraphs as though fully set forth herein.

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       322.    As set forth in detail in paragraphs 66 through 254 and 294, supra, the RICO

Defendants engaged in a fraudulent scheme to defraud the public into believing the Nuclear

Reactor Project was needed to fulfill the energy needs of the Plaintiffs, and the Class consisting

of millions of residents and business in the state of South Carolina, and that they would

complete the Nuclear Project on budget and on time.

       323.    At all relevant times, the RICO Defendants were “persons” within the meaning

of RICO, 18 U.S.C. §§ 1961(3) and 1964(c).

       324.    At all relevant times, the RICO Defendants each met the definition of a “person”

within the meaning of RICO, 18 U.S.C. §§ 1961(3) and 1962(d).

       325.    At all relevant times, the RICO Defendants controlled the Racketeering

Enterprise and engaged in racketeering activities for the purpose of defrauding the Plaintiffs.

       326.    At all relevant times, the Racketeering Enterprise was engaged in, and its

activities affected, interstate commerce, within the meaning of RICO, 18 U.S.C. § 1962(c).

       327.    As set forth in Count One, the RICO Defendants controlled the Racketeering

Enterprise and the Project with significantly overlapping ownership, and the Defendants

conducted or participated, directly or indirectly, in the conduct of the Enterprise’s affairs

through a “pattern of racketeering activity” within the meaning of RICO, 18 U.S.C. §1961(5), in

violation of RICO, 18 U.S.C. § 1962(c).

       328.    At all relevant times, the RICO Defendants were each associated with the

Enterprise and agreed and conspired to violate 18 U.S.C. § 1962(c), i.e., agreed to conduct and

participate, directly and indirectly, in the conduct of the affairs of the Enterprise through a

pattern of racketeering activity, in violation of 18 U.S.C. § 1962(d).

       329.    The RICO Defendants committed and/or caused to be committed a series of



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overt acts in furtherance of the Conspiracy and to affect the objects thereof, including but not

limited to the acts set forth above.

         330.   As a result of the RICO Defendants’ fraudulent misstatements (upon which the

PSC, the public, Plaintiffs, and the Class detrimentally relied), and the RICO Defendants’ other

misconduct, members of the Class were directly and proximately injured in their business or

property.

         331.   As a result of RICO Defendants’ violations of 18 U.S.C. § 1962(c), the Class lost

over $2.5 billion and were deprived of the intangible right to honest services.

         332.   As a result of the RICO Conspiracy, Defendants and their co-conspirators are

liable to the Plaintiffs and the Class for their losses in an amount to be determined at trial, but

no less than $2.5 billion.

         333.   Pursuant to RICO, 18 U.S.C. § 1964(c), the SCANA Customer Class is entitled

to recover threefold their damages plus costs and attorneys' fees from Santee Cooper and the

Individual Santee Cooper Defendants. 128

         334.   Pursuant to RICO, 18 U.S.C. § 1964(c), the Santee Cooper Customer Class is

entitled to recover threefold their damages plus costs and attorneys' fees from the RICO

Defendants.




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                                          COUNT III

            Taking of Santee Cooper Customer Class Property in Violation of the
                    Fifth Amendment to the United States Constitution
                                 (Against Santee Cooper)



        335.    The following is pled alternatively and cumulatively, the Santee Cooper

Customer Class having been informed that they are not required to elect among these causes of

action to the extent that they allow a double recovery until the trial of the matter is fully and

totally completed. Accordingly, the Plaintiff re-alleges each of the preceding factual paragraphs

as if expressly set forth herein.

        336.    The Constitution of the United States provides that private property may not be

taken for public or private use without just compensation.

        337.    At all times relevant to this complaint, Santee Cooper was operating as an agent

of the State of South Carolina.

        338.    At all times relevant to this complaint, the Members of the Santee Cooper

Customer Class have had a property interest in their own money.

        339.    From 2009 continuing to the present, Defendant Santee Cooper, acting as agent

of the State of South Carolina, has taken over $540 million from members of the Santee Cooper

Customer Class for the purpose of constructing the Nuclear Reactor Project.

        340.    At no time have the members of the Santee Cooper Customer Class received any

benefit from the funds expended toward the Nuclear Reactor Project.

        341.    Moreover, Santee Cooper’s advance charges to the Santee Cooper Customer

Class for the Reactor project without offering anything meaningful in return violate the long

standing “used and useful” principle in utility proceedings.
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       342.    Santee Cooper’s advance charges to the Santee Cooper Customer Class

constitute a taking of property without just compensation therefor.

       343.    Santee Cooper’s advance charges to the Santee Cooper Customer Class for

construction of the Nuclear Reactor Project is an uncompensated taking for public use, in

violation of the Constitution of the United States.

       344.    In addition or in the alternative, Santee Cooper’s advance charges to the Santee

Cooper Customer Class for construction of the Nuclear Reactor Project constitute a taking for

private use by Santee Cooper in violation of the Constitution of the United States.

       345.    As a result, the Santee Cooper Customer Class has been injured in an amount to

be determined by the trier of fact and entitled to an order disgorging the sums paid in advance to

Santee Cooper.

       346.    As a direct, foreseeable, and proximate result of the acts of Defendant Santee

Cooper, the Santee Cooper Customer Class has been damaged in an amount equal to the just

compensation due them under the Fifth Amendment, including interest thereon at a rate to be

established by this Court.

       347.    As a further direct, foreseeable, and proximate result of the taking of their

property without just compensation, the Santee Cooper Customer Class has been required to

retain the services of counsel to prosecute this action. The Santee Cooper Customer Class has

incurred, and will incur, attorneys’ fees, expert witness fees, and costs and expenses of litigation

in an amount as yet unascertained.

       WHEREFORE, Plaintiffs, on behalf of the Class, respectfully request that judgment be

rendered against the Defendants as follows:

       a.      Declaring this action to be a proper class action maintainable pursuant to Rules
               23 (b)(1), 23(b)(3), and/or 23(c)(4) of the Federal Rules of Civil Procedure; and

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              declaring Plaintiffs to be proper Class representatives;

       b.     Awarding Plaintiffs and the other members of the Class treble the damages
              suffered as a result of the wrongs complained of herein in Count I of the
              Complaint, together with interest;

       c.     Awarding Plaintiffs and other members of the Class treble the damages suffered
              as a result of the wrongs complained of herein in Count II of the Complaint,
              together with interest;

       d.     In the alternative, and to the extent not contraindicated by law, awarding a
              money judgment equal to the just compensation owing to each member of the
              Santee Cooper Customer Class for the permanent taking of its property for public
              use, together with interest thereon at the legal rate from the date of taking;

       e.     Awarding Plaintiffs and the members of the Class their cost and expenses of this
              litigation, including reasonable attorneys’ fees, expert fees and other costs and
              disbursements;

       f.     Awarding prejudgment interest, post judgment interest, and costs; and

       g.     Awarding Plaintiffs and other members of the Class such other and further relief
              as may be just and proper.

                                        JURY DEMAND

       Plaintiffs hereby demand a trial by jury on all issues so triable.


Dated: July ___, 2019

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